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                         EXHIBIT D
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                 LETTERS FROM OTHERS


Chip Gibbons                           Ande Finley
Elizabeth Hill                         Henry and Jaki Florsheim
Mikal Hutto                            Sandra Folzer
Allison Lee                            Carol Fox
Karen Malpede                          Greg Gardner
Stefania Maurizi                       David Gassman
Alex McDonald                          Laura Gibney
Michael Wallace & Clare                Mark Giese
Daly                                   Linda Greene
David Ball                             Chris Hedges
Medea Benjamin                         Maggie Huntington
Mary Bissell                           Dwain Jones
Toby Blome                             Laura Jones
Richard Blumen                         Judith Kelly
Diana Bohn                             Kathy Kelly
Tom Brown                              Laila Khan
Michael Casey                          George Killingsworth
Code Pink Petition                     Noah Kulwin
Linda Corey                            Barbara Larcom
Maggie Coulter                         Daniel Lindley
Michaela Czerkies                      Max Liotta
Faith De Savigne                       Neil Madden
Nancy Dollard                          Siri Margerin
Frances Dunham                         Jesse Marsden
Linda Fadem                            Cybele Mayes-Osterman
Joy Fatooh                             Marilyn Montenegro
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Sharon Paltin
Rosalie Paul
Allan Peterson
Alison Phillips
Carol Pinson
Sebastian Poos
Nancy Roberts
Steve Roddy
Deborah Rosenstein
Coleen Rowley
Janice Schroeder
Benjamin Smith
Dea Smith
Kirk Snavely
Nicholas Southwell
Christian Stalberg
Jim Steitz
Phoebe Thomas
David Turnoy
Katharine Tussing
Sue Udry
Parker Weaver
Janet Weidman
Susan Witka
Mary Zelaya
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   July 1, 2021

   Honorable Liam O’Grady
   U.S. District Judge

   Dear Judge O’Grady:

   I am writing to urge you to grant leniency to Daniel Hale. While I do not know Daniel
   Hale personally, I am an expert on free expression policy and the Espionage Act,
   under which Hale has pled guilty. As a journalist and researcher, I write about US
   national security policy, especially as it impacts constitutional liberties. I also serve
   as policy director of Defending Rights & Dissent, a free expression advocacy
   organization that has worked to educate members of Congress and the general
   public alike about the Espionage Act. I understand that as a judge it is your duty to
   uphold the law, not enact my personal policy preferences. I am not writing to urge
   you to do so. However, I believe the information that I have can help to inform your
   decision. I believe this information shows that Daniel Hale deserves the most lenient
   sentence possible.

   Currently, as a journalist I am working on a book about the history of the FBI’s role
   in national security policy and its implications for civil liberties. This book comes on
   the heels of half a decade of writing articles, reports, etc. on this topic. While I
   recognize Daniel Hale’s disclosures were not on this subject, I believe my own
   experiences highlight the way secrecy frustrates public debate and how many
   channels for the release of public information are broken. Such context is important
   in considering why Hale took the actions he did and the role of sources like Hale in
   journalism today.

   When informing the US public on government policy, I find it important to rely on
   primary sources as much as possible. Literature in this field is filled with on the one
   hand official stories and press releases, and on the other hand rank speculation and
   outright conspiracy theories. Neither serves the American people, which is why I
   believe it is so important to work from the government’s own documents.

   The FBI and other national security entities have a legitimate interest in concealing
   some information from me. If they were closing in on a murderous international
   terrorist or about to ferret out a spy turning over our nuclear launch codes to a
   hostile foreign adversary, it would make sense they would not give me the details of
   their imminent arrest. But when it comes to information about closed abusive
   investigations that were made in violation of their guidelines (or, equally pressing,
   were in compliance with their guidelines, thus raising questions about the
   sufficiency of these protections), such secrecy is not justified.

   And in my own experience, the FBI has hardly been forthcoming. Even when dealing
   with decades-old records from Hoover-era assaults on the Civil Rights Movement
   that the FBI has long since conceded were abuses of power, they still try to frustrate
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   researchers from obtaining these documents. The FBI’s own failure to comply with
   FOIA has caused me to have to pursue litigation to compel the release of documents
   that were in the public interest and vital to my work.

   The classification system is supposed to be used to protect genuine national security
   secrets, not be used to conceal information from the American public. Yet, far too
   often the classification system is used to do just that. That is why some of the biggest
   revelations in US history, such as the Pentagon Papers, J. Edgar Hoover’s illegal
   counterintelligence program against domestic groups, or the CIA’s spying on anti-
   war protesters, were all made in contravention of the law. These revelations
   nonetheless changed US history, sparking public debate, congressional inquiry, and
   serious policy changes.

   Daniel Hale’s decision to aid a journalist in newsgathering is similar to these types of
   revelations. In spite of the name of the statute he pled guilty under, he is not a spy.
   His revelations about the deeply controversial US targeted killing program did not
   harm our national security but enriched our democracy. The use of targeted killings
   by our government has been at the center of an intense public debate. Hale sought
   to better inform that public debate by providing information that showed how it
   impacted civilian populations.

   As policy director of a free expression organization, much of my professional
   portfolio over the last several years has dealt with the Espionage Act. In carrying out
   my responsibilities, I have held in-depth conversations with legal historians and
   other experts on the law, former intelligence officials, journalists, attorneys who
   represent clients charged under the Espionage Act, and Espionage Act defendants
   (including both those who had their charges dropped and those who were
   convicted). I have, at the requests of a member of Congress, redlined the statute in
   order to create a bill reforming the Espionage Act.

   The Espionage Act conflates two different categories of defendants. It treats as the
   same those who are spies and those who are government insiders who act as
   journalists’ sources. For the longest time, the use of the Espionage Act against
   journalists’ sources was a rarity: so rare that when Samuel Morison was convicted
   under the Espionage Act, President Clinton pardoned him. Senator Daniel Patrick
   Moynihan championed Morison’s pardon. Writing in his latent capacity as chairman
   of the Commission on Protecting and Reducing Government Secrecy, the senator
   told the president:

          The Espionage Act has always been used to prosecute spies, those passing
          information to foreign powers. The exceptions are exceptional. President Nixon
          sought the prosecution of Daniel Ellsberg and Anthony Russo for leaking the
          Pentagon Papers. Their cases were dismissed. But the Reagan administration
          successfully prosecuted Mr. Morison.
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          What is remarkable is not the crime, but that he is the only one convicted of an
          activity which has become a routine aspect of government life: leaking
          information to the press in order to bring pressure to bear on a policy question.

   While Morison’s prosecution was an “exceptional exception,” in the last decade and
   a half Espionage Act prosecutions of journalists’ sources have become the norm. The
   Espionage Act has been selectively applied. Individuals within government routinely
   share information with journalists that bolster the government’s public claims.
   When it comes to those who expose information that paints a very different picture
   of the government’s activities, whether it is the release of the Pentagon Papers or
   Hale’s disclosures about targeted killings, the reaction is very different.

   Hale is not a spy and should not be sentenced as such. I urge you to show the
   maximum leniency possible. Hale assisted in newsgathering on a matter of grave
   public concern. His actions were not rooted in personal gain but in informing our
   democratic debates. The fact that Hale was prosecuted at all has less to do with the
   fact that he disclosed information without proper authorization than that he did so
   in a manner that painted the government’s targeted killing program in a critical
   light.

   The government has many valid reasons for keeping secrets. Unfortunately, as my
   own experience as a researcher has shown, the government often uses secrecy to
   conceal information of public interest from the public. Such actions undermine our
   ability to make democratic decisions. The Espionage Act has morphed, to the
   surprise of many policy-makers, from a law aimed at actual spies to one that targets
   whistleblowers. It is not the purpose of a law aimed at spies who aid hostile foreign
   powers to go after individuals like Daniel Hale who aid journalists, the public, and
   our democracy. Yet, it has tragically been selectively used for that purpose.

   While I understand that it is your job to rule on the law as it is, not as it ought to be, I
   hope you will take the information I have shared with you into account. And I hope
   it will lead you to afford Daniel Hale the maximum leniency possible.

   Sincerely,

   Charles Gibbons
   Policy Director
   Defending Rights & Dissent
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 From:                 Elizabeth Hill
 To:                   Todd Richman
 Subject:              Letter in support of Daniel Hale
 Date:                 Thursday, April 15, 2021 3:27:49 PM




 To The Honorable Liam O’Grady,

 My name is Elizabeth Hill and I live in New York City. I don’t know Daniel Hale personally, but I've been exposed
 to him through Code Pink, an activist group that has spoken out against warfare at large and specifically against
 drones. I admire Code Pink because their tone is always respectful and their position is highly informed and
 grounded in facts. I’ve educated myself on drone warfare through Code Pink and through other sources over the
 years. I've come away from my education deeply concerned about drone warfare, and how it kills innocent civilians
 who have not been identified as threats or terrorists. I've read about innocent civilians going about their lives who
 are suddenly killed: a group of friends gathered together for a meal under the night sky, talking and laughing—
 sacrificed because they happen to be in proximity to an individual who is deemed a terrorist; an uncle and brother-
 in-law and nephew returning from a long day of work along a mountain path—again scarified due to proximity.
 These lives are all tragically cut short. I've read, too, about devastated communities left behind; they not only
 sustain the loss of their beloveds, but they go on to live in fear for their own lives and for the lives of other loved
 ones. I’ve also read that such indiscriminate attacks can radicalize individuals within the community and lead them
 to join terrorist forces, which they might not otherwise have joined. This can only increase the threat to the
 American people.  

 I recently rewatched (on youtube) Daniel speak at a Code Pink event held in 2013. I was once again deeply moved
 and impressed by Daniel’s humility and sincerity. He doesn’t seek accolades or applause for his unusual actions (in
 fact, he specifically tells the audience not to applaud him). In the course of his speech, Daniel reveals the moment at
 which he could no longer participate in drone warfare. It is when he and his fellow service members have located a
 man whom they have targeted as dangerous. This man is with four other men—none of whom have been identified
 as threats. Nonetheless, there is an order to conduct a “kinetic strike” against all five men. That means four
 potentially innocent civilians are sacrificed for the sake of one man who has been deemed a threat. For me, this is
 unacceptable. For Daniel, it marked his disillusionment with the military—whom he had invested in for many
 years. Daniel has great concern and empathy in his voice when he speaks of these men. He speaks of seeing the
 group gathered around a campfire drinking tea. These strangers from so far away (four of whom are not suspects)
 are fully human to Daniel. He is clearly driven to leave the military and to expose the truth about drone warfare out
 of a profound concern for his fellow humans. While I know it is illegal to disclose classified military information to
 the public, I believe that Daniel did so because he is a man of great compassion and moral standing. He revealed
 information to an investigative journalist in an effort to educate the American people. His conscience compelled
 him to do so, and he has risked so much in the process, including now time in prison. What’s more, I believe that
 Daniel’s disclosures are of utmost interest to the American public. We are not informed of drone warfare by the
 mainstream news. We do not learn of the high number of innocent civilians who are killed. It is my belief that there
 would be pressure on the military to reform its indiscriminate approach to drone warfare if the truth was fully
 revealed to the American people. As a result, so many innocent lives would be spared, and perhaps fewer people
 would be radicalized and join enemy forces. This can only be for the good—which is what Daniel Hale pursues.

 Respectfully yours,

 Elizabeth Hill
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 From:       miklhut@aol.com
 To:         Todd Richman
 Subject:    Letter of Support for Daniel Hale
 Date:       Friday, April 23, 2021 7:53:40 PM



 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 RE: Daniel Hale

 Dear Sir,

 I am writing in support of Daniel Hale. My name is Mikal Hutto. I live
 in San Leon, Texas. I am the mother of a recently retired, career Army
 Veteran. Daniel's case really struck home with me. My son was a good
 soldier but after he retired and came home, he suffers terrible
 depression and PTSD over the children he saw killed. I can understand
 Daniel's frame of mind and how disturbed a lot of these young men
 become upon seeing and knowing so many civilians were killed.
 Daniel went with his conscience and I can see why he did. These were
 some different wars and so many civilians perished at our hands.
 Daniel Hale was damned if he told and damned if he didn't. My son,
 never told anyone but his parents, his feelings and he still suffers guilt,
 depression and PTSD, though to his knowledge, he never killed a child.
 He still feels responsible and probably always will.

 The Army wants to hire intelligent, sensitive young men, not brutes
 who kill for pleasure and that's admirable but it sometimes does these
 young men great harm and they feel compelled to try to right a wrong.
 Please take this into consideration and do not give Daniel Hale prison
 time, he has suffered enough, losing his job, having PTSD and now
 being prosecuted as well as, losing the respect of the very institution he
 was proud of being part of.

 Thank you for your time and the opportunity to communicate on Daniel
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 Hale's behalf.

 Sincerely,

 Mikal Hutto
        @aol.com
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The Honorable Liam O’Grady
United States District Judge
United States District Court for the Eastern District of Virginia
                                                                             Lee Allison

                                                                             Lexington, KY 40509
Dear Honorable Judge O’Grady,

I want to ask that you to provide leniency for Daniel Hale.

I am a business professor at a public university. I have four children and five grandchildren. I
have two sons-in-law that served in two branches of the military. One was deployed a number of
times to Iraq. The first time he ever boarded a plane, he had to jump out of it as he was in the 81st
Airborne. The other was in the Navy and was deployed to ally countries during his tours.

I have a great love and appreciation for this nation, and the two highest values I have is
appreciation for the sanctity of life and freedom. One cannot have one without the other.

I am saddened and aggrieved that government has so egregiously mistreated Daniel Hale and
other true whistleblowers, just as I am sad and aggrieved at the war and destruction that this
government perpetually wages against innocents by risking, and harming innocents. I can only
imagine the stress and depression that must attend being so violently mistreated when one has
put one’s own life on the line to protect this great country and its people. It has to make one
question everything.

Most Americans don’t support crimes against humanity. Those who do have often succumbed to
lies, and very often, they succumb because never in their life do they have the opportunity to
hear the truth of the horrors that are occurring in their names, “on their behalf.”

I ask you to be sustained and strengthened in recognizing the value that real whistleblowers
provide to each and every one of us.

I don’t know Daniel Hale personally. However, I am so grateful for his courage and bravery. I
have listened to him speak online. I am touched by his humility. His actions speak for
themselves. Young men like Daniel and my sons in law love their country. They are devoted to
our country and securing freedom and its future for our children.

I ask you to provide leniency to Daniel Hale and recognize that it is the American citizen and
men like him that need your protection. The government per se needs no protection. They have a
monopoly on violence and control the justice system and have the power to destroy anyone that
challenges them. We rely on people like you to judge wisely and appropriately and stand in the
breach to protect the liberty and freedom that we all so often take for granted, but that Daniel
Hale has risked everything to protect.

Most sincerely,
Lee Allison
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28 June 2021The Honorable Liam O’Grady
United States District Judge
United States District Court for the Eastern District of Virginia
Dear Judge O’Grady,
I write as a mother, a published, produced, award-winning playwright and an Associate Professor
of Theater and Environmental Studies at John Jay College of Criminal Justice, City University of
New York, to ask for clemency for Daniel Hale. I have followed Daniel’s case and listened to
him speak. He is the sort of young man I would be proud to have as a son. Perhaps, if Daniel
were my son, he would have had the cultural advantages that would have kept him from the army
in the first place; as the army, without a draft, is where young people often go to find or advance
themselves. It is clear that Daniel, once involved in the targeted assassination program, came to
the sort of awakening that had it happened while he was writing a college term paper would have
earned him an “A”. Instead, he is facing prison because he had the courage to face the truth and
act on it.
In my role as professor, I have often taught veterans and students whose siblings serve in the
military. I have heard the stories of sexual assaults, depression, despair and suicide that too often
accompany military service. I have had students who had to sit by the door so they could get out,
if they felt a wave of violence coming over them. I have students who could not tolerate being in
class and with whose therapists I have worked so that they could complete the class remotely.
One such young man was able to write his own story of guilt and self-recrimination as his final
paper and he delivered it to me in person, even though he had never been able to sit in class with
others. I treasure that paper and am proud to have played some small part in his healing. I’ve
never had a student who was a veteran that I could describe as carefree or unburdened by their
service. Veterans who are not able to speak out and be heard are those that we often lose to drugs
or to self-harm.
Daniel is a young man who has similarly suffered. He wished to do good and found he was doing
bad; he was going against his conscience and participating in the remote murder of people he
thought might be completely innocent. Who among us could continue to do such a thing? Only
criminals. But it was only once Daniel spoke out that he became a target of the law. As a teacher
of literature, as a lover, especially of Irish literature, I have learned to revere those who act
nonviolently in accordance with their conscience. They free themselves and others by speaking
truth.
Respectfully, as a mother, artist and educator, I ask that you commute Daniel’s sentence to time
served. This is a young man who can make a real contribution to our troubled world. I see no
purpose in a prison sentence.
Thank you for your attention,
Sincerely,
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Karen Malpede
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 From:               Alex McDonald
 To:                 Todd Richman
 Subject:            Daniel Hale
 Date:               Monday, April 19, 2021 12:02:06 PM




 April 19, 2021


 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 R.E. Daniel Hale


 Dear Judge O'Grady:

 My father was a Marine Corps drill instructor. Growing up abroad, I
 started the boy scouts in the American embassy in Paris. I grew up
 being proud of being American believing that we are all ambassadors when
 we are abroad; we all represent our country. As an Eagle Scout I have
 taken the charge to be loyal to my country and our values. These values
 have to include integrity and the respect for others as we want to be
 respected.

 Another one of these values is democracy. My oldest son is named after
 Thomas Jefferson. My belief is that it is imperative that we ensure
 that our government be one of the people, by the people and for the
 people. This is only possible if the people know what is going on, and
 specifically, know what their government is doing. And if our
 government is doing things in secret that don't reflect our values then
 it is important for those who do know to speak out. Although secrecy is
 necessary for national security, we cannot let it be the tool used for
 compromising our values.

 I have heard Daniel Hale speak. He has been a devoted American serving
 our country in Afghanistan. He has been loyal to our country. And when
 he was faced with choosing to do what he believed was morally right and
 best for our country or following what was requested of him, he had the
 courage to stand for his values. He took on the legal system, loss of
 work and financial hardship in addition to other consequences to stand
 for his values and his country.

 As an American I am grateful to Daniel Hale for serving me as an
 American. If my government does not share with me what we are doing
 which actually increases terrorism rather than curtails it, then I
 depend on fellow patriots like Daniel Hale to tell me the truth. I
 therefore respectfully ask for leniency in the case of the defendant
 Daniel Hale, who pled guilty to one count of “retention and transmission
 of national defense information” in violation of the Espionage Act on
 March 31, 2021. I request that Hale receive no prison time.

 Thank you for your consideration.

 Sincerely,
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 Kenneth A. McDonald

 Houston, TX 77008
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 From:             David Ball
 To:               Todd Richman
 Subject:          Letter in support of Daniel Hale
 Date:             Wednesday, April 14, 2021 3:52:08 PM


 Dear Judge O'Grady,

 I understand that Mr. Hale's disclosures were in violation of US law. But I do hope you will consider
 another principle, too, in sentencing him. Whistleblowers, those who disclose wrongdoing or
 disinformation, even by our own government, should be protected. If I understand correctly, Mr. Hale
 disclosed information about what our drones were doing. Since our tax money pays for the military
 budget, we have a right to know.

 In fact, a democracy depends on a transparent government. True, there will always be secrets whose
 disclosure could put our people in harm's way. I fail to see how this could possibly be one of those cases.

 Thank you very much for your consideration of these factors.

 Sincerely,
 David Ball

 David Ball
 Professor Emeritus of French and Comparative Literature
 Smith College

 Northampton MA 01063
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 From:          Medea Benjamin
 To:            Todd Richman
 Cc:            Daniel Hale
 Subject:       letter in support of Daniel Hale
 Date:          Tuesday, April 27, 2021 10:52:15 PM


 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 Dear Judge O’Grady,

 I write on behalf of Daniel Hale, who is awaiting sentencing. I am an author of the
 book Drone Warfare: Killing By Remote Control and have spent much time studying
 the growing use of drones in military actions. In 2012, I had the privilege of organizing
 a 34-member delegation to visit the Waziristan region in Pakistan, a place under
 intense drone attack by the Obama administration. I met people who had lost their
 loved ones—innocent children, grandmothers, teachers—to U.S. drones simply
 because they were in the wrong place at the wrong time.

 A year later, a group of us traveled to Yemen, meeting with families whose loved
 ones were killed by U.S. drones. Communities that had positive feelings towards to
 the U.S.--oftentimes with relatives living here—turned into our enemies once we
 murdered their loved ones who posed no threat to the United States.

 While our government tells us about the so-called “precision” of drone killings, thanks
 to people with a conscience like Daniel Hale, we learned that these strikes were
 definitely not precise. In their wake, they leave death, maiming, trauma and
 destruction of community, culture and trust. This is the reality of people around the
 world who are living under armed drones and military drone surveillance.  

 That’s why I am so grateful to Daniel Hale. He helped us understand the insidious
 nature of drone warfare. He followed his conscience. He understands that the U.S. is
 actually less safe when it unleashes havoc on entire communities and kills innocent
 people.

 I urge you to consider the reasons for Mr. Hale’s actions, and to not sentence him to
 any prison time.

 Thank you so much for considering this letter.

 Sincerely,
 Medea Benjamin
               @gmail.com


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 Medea Benjamin
 CODEPINK Co-founder
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 21 of 96 PageID# 2527


 From:            Mary Bissell
 To:              Todd Richman
 Subject:         Letter in Support of Daniel Hale
 Date:            Wednesday, April 14, 2021 6:46:11 PM


 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 Hello,

 My name is Mary Bissell. I am a teacher in Rio Rancho, NM. I am writing in support of
 Daniel Hale because after he pleaded guilty in late March, Daniel faces up to a decade in
 prison for just telling the truth. I try to teach my students to tell the truth, even if it's ugly, even
 if it's hard, even if they screwed up and need to acknowledge that. A few times, this has kept
 students safe from abusive situations, violence, etc. Regardless, being honest helps my
 students learn responsibility and sends them out into the world to be productive citizens. I
 would be proud if Daniel had been my student.

 Daniel is a proud American. He believes we can do better and truly be the best. I can't imagine
 being in his position--the hardships faced and the toll the case has taken on him (e.g. he has
 experienced PTSD, loss of work, and financial hardship).

 There should be immense public interest in what Daniel has revealed to the American public.
 He should not be punished for that.

 Thank you for your time,
 Mary Bissell
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The Honorable Liam O’Grady
United States District Judge
United States District Court for the Eastern District of Virginia




Dear Honorable Judge O’Grady,

I am writing to you in regards to drone whistleblower Daniel Hale, who sits in a federal prison,
awaiting his sentencing hearing July 27, at which time, you will determine Daniel’s fate. Please give
thorough consideration to all the issues of his case, recognize the higher universal principals that
motivated Daniel, and ultimately show the compassion that Daniel deserves by not giving him any
further prison time.

My name is Toby Blomé. I am a retired physical therapist and former teacher. For the last 12 years
I have been working tirelessly to speak out against the U.S. drone assassination program, working
to educate the American public about the criminal and immoral aspects of this very secret and
illegal program. In 2012, I traveled to Pakistan as a member of a U.S. civilian peace delegation,
which included meetings with family members of civilian victims killed by U.S. drone strikes in the
northwestern tribal region of Pakistan. It was absolutely heartbreaking to hear their personal
stories, and I returned home pledging to work toward ending this heinous program.

Especially troubling today, nearly a decade later, is recognizing that the U.S. remote-killing program
is thriving and expanding globally, while simultaneously maintaining an even higher degree of
secrecy than ever before. In recent years, drone strikes are rarely reported, and almost never tell
the human side to the story. The few news reports that are published usually only tell of “air
strikes,” not specifying if they are drone strikes or not. However, people are regularly being killed
by drones, not in combat, but as they are going about their lives, driving down the road, working in
a field, sitting in their homes with family, sleeping, attending a school, wedding party or funeral,
praying in a mosque. In Afghanistan in September, 2019, 30+ farm laborers were killed by a U.S.
drone attack and 40+ others were injured, while merely gathering to harvest pine nuts for the
season. Several teenage children, hired to shell the pine nuts, were included in the death toll.

There is overwhelming evidence that the vast majority of those killed by U.S. drones are civilians.
The very military documents that Daniel Hale has been accused of leaking support this reality.
Without this important leak, the American public would be even more in the dark about this covert
and illegal program. Even high level government and military officials, including former president
Barack Obama and my own California senator, Dianne Feinstein, have grossly lied about the civilian
casualties in drone strikes. Yet, there has been absolutely no accountability for the purposeful
dishonesty and misinformation perpetrated by officials about the U.S drone assassination program.
Worse, to date, no one has ever been held responsible for the wrongful killing of civilians by U.S.
drones, even though these killings are not committed in the “heat of battle,” have no urgency, and
therefore don’t deserve even the slightest opportunity to be excused or “tolerated.”

Daniel denounced the false claim that drones protect American lives by not putting them in harms
way. Instead, he has stated that drones “embolden commanders and decision makers because there
is no threat and there is no immediate consequence.” In other words, drones make killing people in
foreign lands so much easier. Because no one is given prior warning of imminent strikes that may
occur in regions targeted by U.S. drones, these communities, including their children, are being
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terrorized daily, resulting in high rates of trauma, PTSD and suicide. As was documented in
Pakistan 10 years ago, people have become afraid to attend traditional social rituals such as
wedding parties and funerals because these cherished gatherings had become frequent targets for
U.S. drones. (Study: Living Under Drones) In addition, at times “double tapping” occurs, where U.S.
drones have attacked rescuers following an initial first strike.” Such practice is undeniably a
serious war crime, yet, again, no one has been held accountable for these “double taps.”

It’s unconscionable that the use of militarized drones has become normalized in U.S. society. While
serving in the U.S. Air Force in Afghanistan, Daniel Hale was involved with identifying, tracking and
targeting high-level targets, that, at times, resulted in the killing of civilians, euphemistically
referred to as “collateral damage.” More precisely, he witnessed the pre-meditated, purposeful
killing of unarmed civilians, by remote means, from the other side of the world. This all happened
at a time when officials were denying significant civilian deaths. Daniel’s conscience was awakened
by this grave truth, and he ultimately felt a deep responsibility to educate the public with the hopes
that policies would change. Daniel took enormous risks on behalf of all of us to reveal the crimes
being committed regularly by the Pentagon and the CIA, violating international and national laws.
He should be commended as a national hero.

We live at a disturbing time when whistleblowers and journalists, who should always be protected
by society and it’s laws, are prosecuted and serve time, while the individuals most responsible for
war crimes and crimes against humanity find haven in a built-in failed system, and are never
prosecuted.

As the judge in Daniel’s case, I beg of you to be thorough and fair in your assessment and conclusion
and recognize that what Daniel did was the most honorable thing that he could do. Your decision in
Daniel’s case may have long lasting effects on the fate of future whistleblowers. Daniel is already
severely traumatized by the cruel drone program that he participated in. He has suffered enough.
Please help him return to civilian life as quickly as possible so that he can continue to heal from the
moral injury that he gravely suffers from. Daniel has earned his freedom more than anyone that I
know. Please help him obtain it.

Sincerely,

Toby Blomé

                 .
El Cerrito, CA
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 24 of 96 PageID# 2530



The Honorable Liam O’Grady
United States District Court for the Eastern District of Virginia

Dear Judge O’Grady

I am writing to you on behalf of Daniel Hale. I have lived in San Francisco for many years.

I learned about Daniel’s actions from the movie National Bird. I believe that Daniel’s actions exposed
possible war crimes.

Whistleblowers are an important part of our political process. They can provide an aspect of the checks
and balances against abuses or power by insiders. As such they deserve a degree of protection, and a
different consideration than people who have broken some rules purely out of self-interest, such as a
person who took bribes or stole property.



If Daniel has broken some laws or rules governing his employment, then it is not inappropriate that he
should face some consequences for his actions. I would like to see him sentenced to time served. If you
do not agre, then in your sentencing decision, please take into account that he has offered a guilty
please to one of the charges and the public good that was done by his exposure.



Sincerely,



Robert Blumen

San Francisco, CA 94105
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 25 of 96 PageID# 2531




Diana Bohn

Berkeley, CA 94707




The Honorable Liam O’Grady
United States District Judge
United States District Court for the Eastern District of Virginia

               May 12, 2021

Dear Judge O’Grady:

Please show leniency in the case of the defendant Daniel Hale, who pled guilty to
one count of “retention and transmission of national defense information” in
violation of the Espionage Act on March 31, 2021. Please do not sentence Daniel
Hale to any prison time.

Daniel Hale is not a spy, a threat to society, or a bad faith actor. His revelations
were not a threat to national security. If they were, the prosecution would be able
to identify the harm caused directly from the information Hale made public.

Hale’s motive was only to provide the American people with information about
government misconduct. I believe that rather than harm our country, Hale’s
revelations actually enhanced our democracy by providing critical information
about what our government has been doing in our name.
As a result of this case, Daniel Hale has experienced PTSD, loss of work, and financial hardship.

 Sentencing Hale to years in prison would set a terrible example for freedom of
speech and send a message that the American public does not have a right to know
about government misconduct.

Please consider giving Hale no prison time!

Sincerely,

Diana Bohn
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 From:            tom brown
 To:              Todd Richman
 Subject:         letters in support of daniel hale
 Date:            Friday, April 16, 2021 5:48:52 PM
 Attachments:     hale letter.odt


 April 15, 2021

 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 Dear Judge O’Grady,

 I am a retired public librarian and I have never written to a judge before. I am taking
 this unusual step because I have learned that Daniel Hale is facing the possibility of a
 severe prison sentence because of his disclosure of information about the United
 States’ drone warfare program.

 I know Mr. Hale only through his efforts to publicize the deeply problematic nature of
 our drone warfare program. On that basis, I am impressed that he is a conscientious,
 intelligent, and responsible young man. His disclosure of details about our drone
 warfare have been motivated by his sense of right and wrong, rather than allegiance
 to a foreign power, the prospect of monetary gain, or self-aggrandizement. In short,
 he is not the person the Anti-Espionage Act was enacted to thwart.

 I understand that you were born in 1950. I was born in 1952. We have both lived
 long enough to have witnessed many instances of the government misleading the
 people, especially with respect to war policy. Over and over again we learn that
 material has been classified not because its revelation would endanger our security or
 reveal “means and methods”, but because the material is embarrassing.

 One would be hard pressed to think of a way that Mr. Hale’s disclosures could
 strengthen the hands of enemies of the United States. Those folks unfortunate
 enough to live where the drones rain hellfire missiles on them already know all too
 well the toll our drones take on the innocent. Nothing Mr. Hale revealed gives the
 Taliban, for instance, any greater capacity for repelling a drone strike.


 I for one have nothing but gratitude for Mr. Hale’s courageous actions. If the
 electorate is to function properly in a democracy, it must be well-informed. Mr. Hale
 has helped all of us understand the reality of our current drone warfare policies
 better. That is a great public service.

 I urge you to sentence Mr. Hale to no incarceration and the minimum fine allowable
 under the law.

 Thank you for your patient attention.
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 Yours truly,

 Tom Brown

 Delta, Colorado 81416
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 28 of 96 PageID# 2534


 From:            Michael Casey
 To:              Todd Richman
 Subject:         Letter To Judge O"Grady
 Date:            Thursday, April 22, 2021 3:56:35 PM



 The Honorable Liam O'Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 Your Honor,

   My name is Michael Casey. I'm a retired elementary teacher living in South San Francisco,
 California. It has come to my attention that Daniel Hale is be sentenced in your court on July
 13 after pleading guilty to violating The Espionage Act with regard to disclosing details of our
 government's secret drone program.
  Over the last ten years, with the help of investigative journalist Jeremy Scahill, human rights
 activist Dan Kovalik, and Afghan peace activist Fahima Vorgetts, and others, I have become
 aware of drone warfare conducted by the United States.
   It has been said many times that a successful democracy requires an informed electorate.
 Through these activists and journalists, I have come to believe our government is in violation
 of the United Nations Charter, the 4th Geneva Convention, and its own principles with regard
 to human rights.
   Daniel Hale, as a whistleblower who was actively involved in the drone program, has
 provided a valuable public service in corroborating the accounts of witnesses, including
 surviving family members, to tragic deaths of innocent civilians directly related to this
 program.
   I feel the majority of American would be very disheartened to know what our government is
 doing in their name. Daniel Hale, I believe, is one such American. For coming forth with his
 testimony, he has been subject to PTSD, loss of work, and financial hardship. I am respectfully
 asking, when determining his sentence, to not include prison time.

 Sincerely,

 Michael Casey
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Honorable Judge Liam O’Grady
RE: Daniel Hale

                                                                                July 6, 2021

Dear Judge O’Grady,

We, the undersigned 5,275 concerned citizens, are respectfully asking for leniency in the
case of the defendant Daniel Hale, who pled guilty to one count of “retention and
transmission of national defense information” in violation of the Espionage Act on
March 31, 2021. We ask that Hale receive no prison time.

Daniel Hale is not a spy, a threat to society, or a bad faith actor. His revelations were not
a threat to national security. If they were, the prosecution would be able to identify the
harm caused directly from the information Hale made public.

While the courts have ruled that a defendant’s motive in a case related to the Espionage
Act is irrelevant, we recognize that Hale’s motive was only to provide the American
people with information about government misconduct. We believe that rather than
harm our country, Hale’s revelations actually enhanced our democracy by providing
critical information about what our government has been doing in our name. We also
believe that Hale’s revelations help push our government to reassess its drone program
in light of its violations of US and international law.

Sentencing Hale to years in prison would set a terrible example for freedom of speech
and send a message that the American public does not have a right to know about
government misconduct. Please consider giving Hale no prison time.

Sincerely,
Medea Benjamin & Danaka Katovich
CODEPINK Women for Peace
       @codepink.org

                       And the attached 5,275 people

    [120 Pages of Signatories Excluded but Available to Court Upon Request]
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 From:           Linda Corey
 To:             Todd Richman
 Subject:        Letter on behalf of Daniel Hale
 Date:           Monday, May 24, 2021 12:44:34 PM


 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 Dear Judge O’Grady,

 I am an American citizen who is writing to you from Lake Forest Park, WA. I urge you to
 act with leniency in the case of the defendant Daniel Hale, who pleaded guilty to one count
 of “retention and transmission of national defense information” in violation of the Espionage
 Act on March 31, 2021. I request that Mr. Hale receive no prison time.

 I believe that the actions of Mr. Hale make Americans safer. The droning of innocent
 civilians causes victims to radicalize and then to commit terrorist acts against Americans on
 US soil and our soldiers abroad. I also believe American citizens have the right to know
 about government misconduct that is committed in our name. This is not espionage, but
 rather, it is legitimate whistleblowing and should be a protected activity in a free society.

 Please consider giving Mr. Hale no prison time. It would be a just action for him, and would
 send the message to Americans and people in other countries that we are a country
 committed to a free press and to disclosing and justly addressing military misconduct.

 Respectfully,

 Linda Corey
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 31 of 96 PageID# 2537


 From:          Maggie Coulter
 To:            Todd Richman@fd.org.
 Subject:       Letter in Support of Daniel Hale
 Date:          Sunday, May 16, 2021 4:00:50 PM


 I urge you to issue the lightest sentence for national security whistleblower Daniel
 Hale.
 His courage to speak up makes him a hero.
 M. Coulter
 Sacramento, CA 95817
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 32 of 96 PageID# 2538


 From:             Michaela Czerkies
 To:               Todd Richman
 Subject:          Letter in Support of Daniel Hale
 Date:             Saturday, July 17, 2021 1:45:54 PM


 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 My name is Michaela Czerkies, and I am from Syracuse, NY. I am writing to ask that you give
 no jail time to Daniel Hale.

 Daniel's case is important to me because I believe that people like Daniel should never be
 imprisoned or punished for exposing the truth to the American people. He took enormous
 personal risk in sharing information about the US weaponized drone program, shedding light
 on the enormous civilian death toll of this program - something that we as US taxpayers,
 constituents, and voters deserve to know about. To take such a risk for the benefit of others
 (civilians abroad and fellow Americans here) is a selfless act that has caused him great
 distress, when instead he should feel supported and safe in doing such an honorable thing.

 Daniel Hale did the right thing by informing the public about the failures of the US drone
 program. The American people need this kind of information to be able to work with our
 elected officials to rectify (to the extent possible) the mistakes of our foreign, domestic, and
 military policy. People like Daniel Hale enable us as a nation to be truly informed and do
 better together.

 Thank you,


 Michaela Czerkies


 --
 Michaela Czerkies
 she/her/hers
 Syracuse Peace Council
 www.peacecouncil.net
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    Faith De Savigné

    Potts Point, N.S.W. 2011
    Australia                                                       June 10, 2021


    The Honorable Liam O’Grady
    United States District Judge
    United States District Court for the Eastern District of Virginia

    Dear Judge O’Grady,

       I am an American citizen living in Australia. I am writing to support Daniel
    Hale’s actions in telling the truth about drone warfare. I am also asking you to
    give him his freedom.
           His bravery in informing the public about the killing of civilians in
    Afghanistan should be praised not punished. What does that say about the
    military enforcing silence on their personnel in following their orders to commit
    immoral acts? The physical and mental toll on Daniel is obvious when being
    asked to participate in target killings when knowing 90% of those killed were not
    the intended object.
           Daniel has risked his freedom and livelihood to ensure the public are
    aware of these criminal acts and yet he is not able to defend his actions. Open
    justice should be one of the primary attributes of a fair trial. And yet he has no
    ability to defend himself and to explain why he has done this for the public good.
           I have seen Daniel speak in the film National Bird, in front of the White
    House and at a conference on the drone program. He is passionate and intent on
    informing people in order to stop the killing of civilians.
           In Australia, we are now being made aware of war crimes committed by
    Australian soldiers. How can the public support their military if the military
    wants to keep their acts secret? Especially when they know that keeping war
    crimes secret allows them to act with impunity.
           The American withdrawal from Afghanistan now acknowledges the whole
    terrible waste this war has been. It is only through the efforts of people like
    Daniel that we know why we must stop.
                                                     Thank you,

                                                 Faith de Savigné
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 From:           Nancy Dollard
 To:             Todd Richman
 Subject:        Daniel Hale Support Letter
 Date:           Wednesday, April 14, 2021 4:12:11 PM


 To The Honorable Liam O’Grady, United States District Judge, United States District
 Court for the Eastern District of Virginia:

 Please consider this letter of support for Daniel Hale.
 I'm writing to support leniency, and no jail time for Daniel Hale because I consider him
 to be a whistleblower, who let members of the American public, like me, know about
 the devastating effects of drone warfare. Since Mr. Hale began speaking out in 2013,
 more awareness of how drone technology can be used against innocent civilians
 without regard as to who is murdered, has come to light.
 My concern is that whistleblowers, like Mr. Hale, will be afraid to speak out
 when military technology like drones, or other weapons of warfare, are used
 without any accountability. When someone is willing to risk their career,
 livelihood, and face stress that results in PTSD to do the right thing, that
 matters to me, and it should matter to you.
 Please send a message that whistleblowers who speak out against the military, or
 any other organization that may harm innocent civilians, or the public, should not be
 penalized when abuse and death of innocent people occurs.
 Thank you for considering my message of support for Mr. Daniel Hale,
 Sincerely,

 Nancy Dollard

 Uniontown, OH 44685
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 35 of 96 PageID# 2541


 From:        Frances Dunham
 To:          Todd Richman
 Subject:     Letter in Support of Daniel Hale
 Date:        Friday, April 16, 2021 2:29:54 PM



 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 Dear Judge O’Grady:

 As an American citizen, aged 79, I appreciate Daniel Hale’s
 courage and commitment to the truth. He has suffered in many
 ways for disclosing how the U.S. drone program has been
 operating in Afghanistan, information the U.S. public needs and
 deserves.

 I ask you see that he is not sentenced to prison for his well
 intentioned efforts to uphold the values our country claims to
 support. Without truth tellers like Daniel, citizens are left in the
 dark about American activities in foreign lands. Daniel has
 earned our praise, not punishment.

 Thank you for considering my request.

 Sincerely,

 Frances Dunham

 Ashland, Oregon 97520
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 36 of 96 PageID# 2542


 From:               linda fadem
 To:                 Todd Richman
 Subject:            Letter in Support of Daniel Hale
 Date:               Saturday, April 17, 2021 5:25:31 PM




 Dear Judge O’Grady:

 My name is Linda Fadem and I am a concerned citizen who cares deeply about what our country is doing in my
 name overseas. In my view, whistleblowing is not a crime and Daniel Hale is a whistleblower.
 We need courageous people like him to keep our government honest and to tell the truth to the American people.
 The truth about drone strikes is that they are not effective and more often than not, kill innocent people which is
 tantamount to murder. Of course the government doesn’t want the American people to know any of these things.

 All of this has taken a terrible toll on Mr. Hale in the form of PTSD, loss of work, and financial hardship but he has
 been willing to endure it all for something he cares deeply about. I urge you to give him a very lenient sentence or
 no sentence at all and reaffirm the fact that whistleblowing is not a crime.

 Thank you very much.

 Linda Fadem
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 37 of 96 PageID# 2543


 From:           Joy Fatooh
 To:             Todd Richman
 Subject:        Letter in Support of Daniel Hale
 Date:           Friday, July 9, 2021 2:36:14 PM


 July 9, 2021

 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 Joy Fatooh

 Benton, CA 93512

 Dear Judge O'Grady,

 I began my U.S. government career as a wildlife biologist and retired as an "Environmental
 Coordinator" -- in short, my duty was to ensure that the public was well-informed of the
 potential effects of any Federal action on public lands. Transparency in government became
 dear to me. Of course the military has different rules, but the principle carries through: I
 believe that we citizens should be able to know the intended and unintended effects of the
 kinds of actions carried out in our name. I also received mandatory annual training in
 whistleblowers' rights. My impression is that Daniel Hale is a whistleblower, not a spy, and
 should not be imprisoned. I respectfully ask that when you sentence him, you have these
 principles in mind.

 Respectfully,
 Joy Fatooh
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 From:            Ande Finley
 To:              Todd Richman
 Subject:         Letter in support of Daniel Hale
 Date:            Wednesday, April 28, 2021 7:00:26 PM


 To: The Honorable Liam O’Grady, United States District Judge
 United States District Court for the Eastern District of Virginia

 April 28, 2021

 Dear Judge O’Grady,

 I am a retired administrator with a keen interest in history and in seeing that our country
 puts its best foot forward. I came of age during the Vietnam War, and since that time I have
 observed our country doing things around the world that harm other people. We are
 supposed to be the beacon of light and freedom, but our policies and military actions do not
 live up to our ideals.

 One of the only ways to change misguided government action is to bring it to the attention
 of the public. This is exactly what Daniel Hale did in passing on information about the US
 drone program. Knowing the history of the treatment of whistleblowers in this county, it
 took great courage for Daniel to follow through on his course of behavior. But thanks to his
 efforts, the true nature of the drone program is now public knowledge, and the next thing
 we need to have happen is for the government to end this program.

 The Espionage Act under which Daniel is charged is a relic of the First World War,
 established to stop protests against the entry into that war. I cannot understand how that
 law, which really has no reason to exist in a country that has Constitutional freedoms of
 speech and of the press, continues to remain on the books and to be used against citizens
 who are trying to get our government to do the right thing. No one was harmed by Daniel’s
 action, and instead of being sentenced to prison, I think he should be awarded a medal for
 his courage in speaking up for what is right. This ordeal has taken a huge toll on Daniel,
 suffering PTSD, loss of work, and financial hardship. Therefore, I am hoping you will
 assign a suspended sentence or probation.

 Daniel has performed a public service, acting on the basis of what his conscience told him
 was right. In a democratic system, the press is an important fourth informal branch of
 government. Sentencing Daniel harshly will discourage future whistleblowers from coming
 forward with important and needed information. After all, how are we to hold our
 government accountable unless people know the truth?

 Thank you for considering my thoughts.

 Sincerely,
 Andrea Finley
 Lopez Island, WA
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 39 of 96 PageID# 2545


 From:           Henry and Jaki florsheim
 To:             Todd Richman
 Subject:        Letter of support for Daniel Hale
 Date:           Tuesday, June 8, 2021 2:29:49 PM


 The Honorable Liam O'Grady
 US District Judege
 US District Court for the Eastern District of Virginia

 We are residents of Brooklyn, NY.
 Daniel Hale's case is important to us because he has shone a light on violence done in the
 name of the US military.
 It is important that we, as US citizens, know about these actions taken in our names.
 Daniel's courage must not be punished further. He must suffer no longer.
 His revelations deserve attention, as do any injustices.

 Sincerely yours,
 Jaki and Henry Florsheim
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 From:              Sandra Folzer
 To:                Todd Richman
 Subject:           Letter in Support of Daniel Hale
 Date:              Wednesday, April 14, 2021 4:46:28 PM




 Honorable Judge O’Grady,

 I am an older citizen, 81 years of age.
 I am proud of much of my country but worry when whistleblowers are punished for telling the truth.
 I have taught school in Ghana West Africa when Nkrumah was President at the point he would not
 tolerate any differences of opinion….very scary.
 I did workshops in South Africa where dissension was outlawed.
 I do not want to see our precious free speech, America’s pride, to be muddied by attacks on
 whistleblowers.
 Daniel Hale is being punished for telling the truth.
 Please free him.
 Thank you
 Dr. Sandra Folzer

 Philadelphia, PA 19118
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 41 of 96 PageID# 2547


 From:            carol fox
 To:              Todd Richman
 Subject:         Letter in defense of Daniel Hale
 Date:            Monday, May 24, 2021 3:42:18 PM


 Judge Liam O'Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 Dear Judge O'Grady,
    I am writing to urge you to consider: What is true justice in the case of
 Daniel Hale? Is it just to prosecute someone who has
 risked everything to shed light on drone warfare? Many reports are showing
 that the state-sanctioned murder of civilians by drones is making our whole
 world more dangerous; surely the public needs to know what is being done in
 our names.
    I have been an educator all of my life, currently at a community college. I
 have tried to instruct students in their rights and responsibilities as citizens.
 I hope
 in your deliberations on the fate of Daniel Hale, you will come to applaud his
 courageous and responsible actions as a citizen.

 Sincerely,
 Sr. Carol Fox
 Niles, IL


 "The way to right wrongs
 is to turn the light of truth upon
 them."
               Ida B. Wells
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 From:          Greg G.
 To:            Todd Richman
 Subject:       Daniel Hale
 Date:          Monday, April 19, 2021 12:00:17 AM


 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 Dear Judge O'Grady:

 My name is Greg Gardner and I am writing from Albuquerque New Mexico.
 During my studies in Journalism at the Edward R. Murrow school at Washington State
 University, and at The University of Oregon, I learned that the role of a journalist was
 to be, "the eyes and ears of the public". My studies in this field were based on
 providing "factual information" so the public could make informed judgements on
 various bits of information provided to them. From seeing the situation pertaining to
 Mr. Hale, it would seem obvious to me that Mr. Hale was acting as "the eyes and
 ears" of a reporter. In this democracy, we rely on people telling us "the truth" on what
 is going on in our society/government. This is important to us. To punish someone for
 telling fellow citizens what our leaders, government, or other officials are doing in their
 sworn role, would be acting like we live in North Korea. Telling the truth is NOT a
 crime. I've never known it to be so. If our society is to punish an individual for
 reporting what is factual, then we do not live in a democracy-but something along the
 lines of what exists in North Korea. Mr. Hale is not a criminal. I ask the court that you
 dismiss this case against him. It is imperative that Americans know what is occurring
 in this country. If we have informed citizens, then the end result will leaders that act
 responsibly to the needs and concerns of all citizens, and a more civilized society.
 Mr. Hale is contributing to that endeavor. I know His Honor wants to be an informed
 citizen. If you punish Mr. Hale, you will be going against the principles of being an
 informed citizen. Mr Hale must be freed. Please do not look down on someone who
 believes in democracy. Look up to them. Proudly. I leave you with a quote from the
 late Edward R. Murrow:

 "To be persuasive, we must be believable; to be believable, we must be credible; to
 be credible, we must be truthful."
 -Edward R. Murrow

 Sincerely,
 Greg Gardner
 Albuquerque New Mexico
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 43 of 96 PageID# 2549


 From:        dfgassman@aol.com
 To:          Todd Richman; info@codepink.org
 Subject:     Letter in Support of Daniel Hale
 Date:        Wednesday, April 14, 2021 7:40:44 PM



 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 Dear Judge O'Grady,

 Daniel Hale apparently gave an investigative journalist truthful
 information about the secretive US drone warfare program, information
 that revealed gross human rights violations. That has to have been an
 exceedingly difficult thing for him to do. Having such knowledge & not
 speaking up about it must be a terrible burden, one that I wish that
 nobody should ever have to bear. To then harshly punish him would
 seem egregious.

 I realize that there are matters of law here & that you have to make
 decisions. I do not envy you.

 Such situations should never exist. The only way to achieve that is for
 people to know the truth, & even then it is most unlikely. But I argue that
 we do have to respect the integrity of someone who speaks out at such
 great risk to themselves. I urge you to go easy on the young man. He
 was apparently in an impossible situation & he did the best that he
 could. I have faced some dilemmas in my life & they have been
 agonizing. I am confident that you understand what I am saying. THANK
 YOU.

 David F. Gassman                                    Oakland, CA   94610 Home:
           Email:                     @aol.com   
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                                                                          Durham, NC 27713




The Honorable Liam O’Grady
United States District Judge
United States District Court for the Eastern District of Virginia



Dear Judge O’Grady

My name is Laura Gibney and I reside in Durham, NC. I am writing with regard to the case of Daniel
Hale.

It pains me greatly to see this courageous and principled young man being prosecuted. As a result of his
participation in the drone warfare program, he was racked with guilt over the loss of innocent civilian
lives in the program and felt morally compelled to speak out about the human cost of drone warfare.
He is our conscience. Sadly, he is paying an enormous personal price for his courageous act of letting us
know the reality of all the innocent souls dying through the drone program.

Taking further action to destroy Daniel’s life seems terribly wrong. I ask you to please consider giving
him no prison time.

Thank you kindly for considering my request.

Sincerely,



Dr. Laura Gibney
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 45 of 96 PageID# 2551


 From:       m.mk@juno.com
 To:         Todd Richman
 Subject:    Letter in Support of Daniel Hale
 Date:       Thursday, April 15, 2021 4:56:01 PM



The Honorable Liam O’Grady
United States District Judge
United States District Court for the Eastern District of Virginia

Your Honor:


Please grant leniency in the case of the defendant Daniel Hale,
who pled guilty to one count of “retention and transmission of
national defense information” in violation of the Espionage Act on
March 31, 2021. I ask that Hale receive no prison time.

Daniel Hale is not a spy, a threat to society, or a bad faith actor.
His revelations were not a threat to national security. If they were,
the prosecution would be able to identify the harm caused directly
from the information Hale made public.

While the courts have ruled that a defendant’s motive in a case
related to the Espionage Act is irrelevant, I recognize that Hale’s
motive was only to provide the American people with information
about government misconduct. I believe that rather than harm our
country, Hale’s revelations actually enhanced our democracy by
providing critical information about what our government has been
doing in our name. I also believe that Hale’s revelations help push
our government to reassess its drone program in light of its
violations of US and international law.

Sentencing Hale to years in prison would set a terrible example for
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freedom of speech and send a message that the American public
does not have a right to know about government misconduct.
Please consider giving Hale no prison time.

Thank you.

Sincerely,

Mark M Giese




Racine, WI 53403


____________________________________________________________
Choose to be safer online.
Opt-in to Cyber Safety with NortonLifeLock.
Plans starting as low as $6.95 per month.*
NetZero.com/NortonLifeLock
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 47 of 96 PageID# 2553


 From:               Linda Greene
 To:                 Todd Richman
 Subject:            Letter in Support of Daniel Hale
 Date:               Wednesday, April 21, 2021 7:44:02 PM




 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 Dear Judge O’Grady:

 I am writing to you in support of Daniel Hale. I first became aware of Hale and his actions in a film several years
 ago and have been concerned about his case since then.

 Hale is a courageous whisleblower, not a criminal. His only “crime” was informing the American public of
 misdeeds their government was carrying out in their name. Hale deserves to be honored, not to be jailed. I urge you
 to treat him with leniency.

 Thank you.

 Linda Greene

 Unionville, IN 47468
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Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 49 of 96 PageID# 2555


 From:               Maggie Huntington
 To:                 Todd Richman
 Subject:            Letter in support of Daniel HALE
 Date:               Friday, April 16, 2021 12:49:17 PM




 Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 Honorable O’Grady,

 My name is Maggie Huntington. I am a retired high school math teacher. I taught 23 years in Phoenix Arizona. It
 was always important to me that my students new the advantages and privileges of living in the United States of
 America.

 One of these privileges, I believe, is that we are free to speak. That is what Daniel Hale did.

 As a citizen of the United States of America it is important that I know how my taxes are spent. Daniel Hale gave
 me that knowledge.

 Thank you for giving me your time.
 Respectively, Maggie Huntington

 Flagstaff AZ, 86001

 Sent from my iPad
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 50 of 96 PageID# 2556


 From:           dwain jones
 To:             Todd Richman
 Subject:        Letter in support of Daniel Hale
 Date:           Thursday, April 15, 2021 4:35:03 PM




 The Honorable Liam O'Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 Dear Judge O'Grady:

 My name is Dwain Jones and I live in Las Cruces, New Mexico. I am writing to ask you to be
 lenient with David Hale and refrain from sending him to prison. I think Mr. Hale sincerely
 believed it to be his moral obligation to let the American people know what was being done on
 their account. I consider it important to have the information that Mr. Hale has
 courageously shared with his fellow citizens of the United States, as we can't do
 anything about something we don't even know is taking place. It's my opinion that
 he ought to be commended for what he did. I'm told that he has already endured
 significant hardships as a result of his whistle-blowing; please don't cause him to
 suffer any further punishment--at least not incarceration, as he is really not a
 criminal.

                               Thank you,
                               Dwain Jones


 Sent from my Verizon, Samsung Galaxy smartphone
 Get Outlook for Android
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 51 of 96 PageID# 2557


 From:          Laura
 To:            Todd Richman
 Subject:       Letter in Support of Daniel Hale
 Date:          Saturday, May 1, 2021 11:49:47 PM


 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 Dear Honorable Liam O’Grady,

 I am writing from Vancouver Canada about Daniel Hale because I am concerned
 about his fate for telling the truth. Though I am not an American citizen, the action he
 took to speak up about the use of drones to kill people concern us all around the
 world. When people stand up against immoral and illegal government action, they
 must be protected.

 The timing of the request to send a letter supporting his actions comes when I’m
 reading “Bravehearts: Whistle Blowing in the Age of Snowden” by Mark Hertsgaard.
 The book covers Daniel Ellsberg, Thomas Drake, John Crane, Snowden and others
 who have risked it all by exposing the truth, and so that’s also why I’m writing.
 Whistleblowers are important for our Democracy and for our souls.

 I’ve heard a speech by Daniel Hale that he made in 2013. This is a man who only
 cares about what’s right and killing innocent people when using drone warfare is
 wrong. In listening to him, one knows he has nothing to gain and of course, already
 has lost a lot. Humble is the word that comes to mind.

 I’m a social worker who believes that truth telling, connection and sharing will solve
 the world’s problems.

 Please let Daniel Hale walk free. We will all be safer when there are more
 whistleblowers and journalists to tell their stories.

 Sincerely,

 Laura Jones
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 From:           silverdove@verizon.net
 To:             Todd Richman
 Subject:        Letter in Support of Daniel Hale
 Date:           Sunday, May 30, 2021 11:25:30 AM




 *****

 The Honorable Liam O’Grady
 US District Judge for the Eastern District of Virginia


 Dear Judge O’Grady,
 I am an activist who traveled to Afghanistan as part of a faith-based peace delegation in 2011.
 Besides learning about the difficult situation of ordinary Afghans, I experienced the
 unbearable tension that militarism had created. After so much time, it was not a force for
 good, but something quite negative and counterproductive.
 Through the years, it is especially clear to me that the weaponized drone program has caused
 extraordinary harm. We are all responsible for the deaths of many innocent people.
 Daniel Hale will come before you on July 13 for sentencing. I respectfully ask you to consider
 the traumatic pain that this young man carries from his war experience. Most veterans from
 military incursions, especially in Afghanistan, have been deeply injured by negative memories
 of their personal actions.
 Prison is no place for anyone dealing with traumatic stress disorder. I trust you will consider
 the health and safety of Daniel Hale, and find an alternative to incarceration.
 Sincerely,
 Judith Kelly


 Arlington, Virginia 22205
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 53 of 96 PageID# 2559


 From:               Kathy Kelly
 To:                 Todd Richman
 Subject:            Letter in Support of Daniel Hale
 Date:               Friday, July 16, 2021 6:03:55 PM


            Kathy Kelly

            St. Charles, IL 60174
            The Honorable Liam O’Grady
            United States District Judge
            United States District Court for the Eastern District of Virginia


            July 16, 2021
            Dear Judge O’Grady,
            I was fortunate, over the past ten years, to visit Afghan families as a guest of the
            Afghan Peace Volunteers. During about two dozen visits, since 2011, young friends
            often invited me to accompany them to refugee camps where they worked as volunteer
            teachers. One such camp, run by the Jesuit Refugee Services, served people displaced
            by war. Mothers and grandmothers often wept as they told of struggles to find water,
            food or, during harsh winter weather, blankets. At a “street kids’ school” run by the
            APV, I met many dozens of children whose earnings, working on the streets of Kabul,
            were the main source of income for their families.
            Truthfully, I never met a single Afghan who advocated U.S. airstrikes or felt positive
            about “tayyara bedun pilot,” – a plane without a pilot. Several people who had lost
            loved ones because of drone strikes expressed grief and anger. “What is the fault?”
            asked a mother whose son was among four young men killed by a drone. “Where is the
            proof? And who will bring bread into this family now?” Her son and his friends had
            been sipping tea in a garden, celebrating their University graduation, when they were
            killed.
            My young Afghan friends surveyed numerous families, asked crucial questions, and
            tried to communicate what they had seen and heard about consequences of war in
            Afghanistan.
            I think Daniel Hale did the same. He learned about “Operation Haymaker,” and
            realized that widespread and indiscriminate attacks against noncombatants were
            shrouded in secrecy. He could no longer leave his conscience at the door as he
            continued learning classified information which the U.S. public would need in order to
            make informed decisions about drone warfare.
            In light of his motivation and the serious consequences resulting from indiscriminate
             drone attacks, I ask you to be lenient in sentencing him.


             Sincerely,


             Kathy Kelly
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 54 of 96 PageID# 2560


 From:        Laila khan khan
 To:          Todd Richman
 Subject:     RE: Daniel Hale
 Date:        Thursday, April 15, 2021 1:33:16 AM



 The Honourable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 Dear Honourable Judge Liam O'Grady,

 I am writing you in despair, seeing that Daniel Hale, a man who
 has stood up for basic human rights to protect civilian lives that
 have been so drastically over stepped by militarism, more
 specifically, drone warfare, killing so many innocent lives with
 absolute impunity. The consequences of such deaths turn in third
 countries, turn more and more people against all that the USA
 constitutions stands for.

 I am originally from Pakistan, where drone warfare, yes has killed
 many deadly terrorists, but at the same time, it has taken a
 terrible toll of civilian innocent lives far more of which have been
 destroyed as well as natural resources. Even one innocent life
 lost in such a manner is a barbaric way to proceed. That Daniel
 Hale has pointed this out, demonstrating devastating factors
 such as drones missing targets, thus responsible for killing more
 innocent civilians than targets, is relevant for the world to know,
 especially if it is to be corrected.

 Daniel's concern for humanity and compassion for life is an
 example to our world. Whistle blowers should not be castigated
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 by vested interests of mighty corporations et al. Especially when
 bringing attention to the failings of government, it is not going
 against government interests, but pointing out failings that ought
 to be addressed clearly, as in this case. Governments must not
 operate with impunity and hubris; just as any normal human
 being, they too have failings. Unless the same are
 acknowledged, they cannot be addressed. We consider
 ourselves civilised, yet turn to barbaric dark age thinking at
 times.

 A tremendous injustice would be done to humanity if Daniel Hale,
 because of his concern for humanity, suffers a guilty verdict. The
 law ought to be applied with good sense, compassion, respect,
 protecting the lives of citizens over and above those of vested
 interests.

 Honourable judge, I plead for the cause of Daniel Hale, it is the
 cause of the welfare of humanity... I would like to add here, I am
 neither leftist nor rightist, a fair world backed by the rule of law is
 my dream, one perfectly achievable with honourable people as
 yourself......

 Thanking you,

 Best Regards,

 Laila Khan
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 56 of 96 PageID# 2562


 From:           george killingsworth
 To:             Todd Richman
 Subject:        LETTER IN SUPPORT OF DANIEL HALETO
 Date:           Friday, July 16, 2021 3:59:02 PM


                                         george killingsworth

                                           berkeley ca 94705
                                                 @earthlink.net

                                             July 16, 2021

 The Honorable Liam O'Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 RE: matter of the sentencing of Daniel Hale

 My name is George Killingsworth, I am a retired minister of the United Church of Christ .. I
 am an 86 year old father of three and grandfather of six beautiful and grand grandkids.

 Daniel Hale is close to the age of my oldest grandson and is an inspiration both to me and my
 grandson for his extraordinary conscience and courageous action to alert us to the murderous
 actions taken in our name and with our tax dollars to kill innocent civilians through robotic
 drone strikes.

 Please please I implore you to spare Daniel any further jail time in your sentencing of him. He
 has already suffered far too much for his courageous action.

 Thank you for your prayerful consideration.

 Respectfully

 Rev. George Killingsworth
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Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 58 of 96 PageID# 2564
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 59 of 96 PageID# 2565


 From:           Barbara Larcom
 To:             Todd Richman
 Subject:        Letter in support of Daniel Hale
 Date:           Wednesday, April 14, 2021 5:19:47 PM


 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia  

 Dear Judge O'Grady,

 I am Barbara Larcom, living in Wooster, a small city in northeast Ohio. I am concerned about
 the case of Daniel Hale, because I want our country to govern itself with the highest integrity.
 I believe Daniel Hale was doing his duty to the citizens of the United States, by letting us
 know of the harm done by weaponized drones in our name, without our knowledge or
 permission.  

 These drones have reportedly missed their intended target as much as 90% of the time! And
 even if they hit the intended target - who decided on the target, on what basis? Again,
 according to reports, the intended targets were often not definitively known to be enemy
 combatants of the United States. How does this secret program align with our country's
 values? It doesn't, and I am grateful to Daniel Hale for letting us know about it.

 I heard Daniel Hale speak, and a story he told has stuck with me: It involved his watching a
 decision made in a matter of seconds, from 10,000 miles away, to kill five men in a group,
 only one of whom was the designated target - and again, even the actual combat status of that
 target was unknown. It was clear that the decision had upset him badly, and it changed his
 view about his own involvement in the military. He is clearly a sincere young man trying to
 conduct himself by a moral compass.

 Daniel Hale's speaking out has already cost him dearly. He is suffering from PTSD and
 financial hardship. I urge you to show him leniency in your sentencing. Thank you for your
 careful consideration of this matter.

 Sincerely yours,
 Barbara Larcom

 Wooster, Ohio 44691
 Phone:
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 60 of 96 PageID# 2566




 From: daniel lindley <lindley555@hotmail.com>
 Sent: Monday, July 19, 2021 4:03 PM
 To: Todd Richman <Todd_Richman@fd.org>
 Subject: Daniel Hale Letter




 July 19, 2021

 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 Dear Judge O’Grady:

 I am writing to urge you to give Daniel Hale as lenient a sentence as
 possible.

 I am a writer, editor and journalist in Eugene, Oregon. As a writer, I
 attempt to tell the truth. As a journalist and U.S. citizen, I believe it is
 crucial for the public to know what its government is doing. A functioning
 democracy depends on an informed citizenry.

 I am not a lawyer. Perhaps Hale technically violated the Espionage Act,
 although this outdated law seems to be used mainly by the federal government
 to punish whistle blowers who reveal embarrassing secrets government
 officials would prefer to keep hidden.

 Hale showed that the drone program funded by all of us US taxpayers has been
 killing scores of innocent civilians overseas. It is crucial for the public
 to know this is going on. My fear is that ultimately this evil will be
 turned back on us, in one way or another, much as Hitler’s evil was
 ultimately visited on Germany in the devastation of that country.

 We need more citizens like Daniel Hale rather than fewer. He really deserves
 a medal for his courage and truthfulness rather than a long prison sentence.
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 Please show him mercy and compassion.

 Sincerely,

 Daniel Lindley
 Eugene, Oregon



 Sent from Outlook
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 62 of 96 PageID# 2568


 From:          Max Liotta
 To:            Todd Richman
 Subject:       Letter in Support of Daniel Hale
 Date:          Wednesday, April 14, 2021 4:02:21 PM



 The Honorable Liam O’Grady

 United States District Judge

 United States District Court for the Eastern District of Virginia


 Hello, my name is Max Liotta, a resident of Westport Connecticut. I urge you to show

 leniency in your sentencing of Daniel Hale. While Mr Hale's actions may have been

 illegal, he provided a public service. He provided the free press with information that

 needed to be known. Without a whistleblower, we often have no way to hold those in

 power accountable. That is not freedom or justice, that is an element of a police state.

 Once again, I urge you to show leniency to Daniel Hale. Thank you.


 Sincerely, Max Liotta
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 From:             Neil Madden
 To:               Todd Richman
 Subject:          Letter in support of Daniel Hale
 Date:             Friday, April 16, 2021 7:24:44 PM




 To:
 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

  Dear Honorable Liam Grady

 Having followed this case with interest from the UK, I am writing to ask that you consider
 omitting jail time in the sentencing of Daniel Hale.

 The case has taken a terrible toll on Daniel already and I do not see how a jail term can be
 in the public interest. Nor can it be in the interest of the state to be portrayed as purely
 vengeful in this matter.

 As you know, the Espionage Act makes no distinction between someone who discloses
 secrets to benefit a foreign adversary (or for money), as opposed to someone who feels a
 moral obligation to disclose problems inside of government (i.e. Daniel).

 The problem with this is that the state, in prosecuting the highly moral Daniel, is itself made
 to look immoral – particularly if any sentence is untempered with mercy. You have the
 power to mitigate this situation with your sentencing instructions and I would ask that you
 do so.

 Yours sincerely


 Neil Madden
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 64 of 96 PageID# 2570



The Honorable Liam O’Grady
United States District Judge
United States District Court for the Eastern District of Virginia

Dear Sir,

My name is Siri Margerin. I reside in San Francisco, California. I suppose you would say I am a child of the
sixties. In fact, I am the child of a man who fought in WWll, came home to join the Army reserves and to
raise his children as a boot-strapping conservative republican Americans, a religious man with a finely
tuned moral compass. I have been thinking about war and peace, courage, and cowardice since I was a
child. As I grew up my father and I did not always see eye to eye on these matters. My father’s war and
his stories of it set a bright flag and a major challenge to me since my childhood. Would I have the
courage to stand up for what was right, stand up for justice and humanity in the face of personal danger
and threats to those I loved? This question truly terrified me as a kid, but I am grateful now. As I am
grateful to Daniel and folks like him who also challenge us to think hard and deeply about critical human
dilemmas. People who remind us to be prepared for these challenges. Challenges as real as a gunfight
that also need to be prepared for.

We present this type of challenge to young people every day when asking them to enlist in the US
military. We talk about courage and sacrifice. We make them believe in the glory of heroic action. We
train them to jump to do tasks that few rise to, tasks that may in certain moments be called heroic. Or
may turn out not to be. Tasks that may in fact deeply damage them. Damage them profoundly. Morally,
fundamentally.

I have been working with servicemembers and veterans directly for eighteen years now. I know quite a
bit about PTSD and Moral injury. I know they are not diseases of the weak. They are human responses to
central, critical human survival.

How can we then turn our backs on them when the voice that speaks to them most deeply from head
and soul tells them that something they are participating in is wrong.

Daniel had nothing to gain from what he did except what he got: his life overturned completely, the loss
of his living, his career, his comfort, his peace of mind and all the pleasures of youth. He gave up every
easy thing to do the thing he had been told was the courageous thing to do. He was told that killing in
absentia was the coward’s way, the terrorist’s way, like roadside bombs and IEDs. How can we punish
him for noticing that what he was doing was exactly that? With no more control over who his victims
were than those cowardly terrorists.

I met Daniel through my work with Iraq Veterans Against the War. I found him to be utterly sincere and
believable. I was truly touched by his courage in the face the threats he was facing and the evident pain
he was suffering over his actions and their consequences I have not seen him for some years now
exactly because of what he has paid for his conscience, but I have never stopped thinking about him. I
will support him now with whatever I have to give.

We owe him a debt of gratitude. Not years in prison. Honestly, he is a hero, even if you don’t agree with
his conclusions. We aspire to this kind upright behavior and responsibility taking by our young. We
require it. He is standing up to keep us honest.
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What good is it to tsk and exclaim years after the fact over people who committed war crimes because
they were ordered to? What good does it do to roll our eyes about citizens who were silent in the face
of persecution of their neighbors, genocide, and, all the smaller ways we trade our humanity for our
comfort.
We need to develop some toughness, courage, and willingness to keep our eyes open. Not just
soldiers/airmen/analysts like Daniel but ourselves as well. We need to wake up from the incapacitating
drone(!) of fear talk and misdirection that lulls us to to keep our eyes closed until it is too late.

I am aware that these arguments are not to be accepted in his case. This is terrifying. Terrifying because
it is so convenient and so damningly purposeful.

“Drone strikes are a form of extrajudicial execution that is illegal under international law. They
are a moral travesty. These assassinations are also part of larger foreign policy that is itself
troubling. When the crime itself is official policy, what better check exists than the democratic
process itself?’’ And when we forbid and public disclosure and discussion? When we forbid any
possible defense who are we?

Sincerely,

Siri Margerin

Sf, CA 94117
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 66 of 96 PageID# 2572


 From:           Jesse Marsden
 To:             Todd Richman
 Subject:        Letter in Support of Daniel Hale
 Date:           Wednesday, April 14, 2021 7:44:02 PM


 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 Greetings. Daniel Hale's case is vitally important to our democracy. Electors are not truly
 free to choose officials while key information is withheld. Hale's disclosures have enabled
 voters to make an informed choice. This action by Hale is very brave and patriotic. It is
 dismaying to think of the suffering already inflicted on Hale and how much more is
 threatened. I hope there will be no further punishment.

 Thank you for your consideration,

 Jesse Marsden
 Providence RI 02906
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 67 of 96 PageID# 2573



Cybele Mayes-Osterman

Washington, DC 20008
                   @gmail.com

April 16, 2021

Justice Liam O’Grady
Senior Judge, United States District Court for the Eastern District of Virginia

Dear Justice O’Grady:

I am writing to you regarding the sentencing of Daniel Everette Hale, the former U.S. intelligence analyst
convicted on five counts of espionage. I first became acquainted with Mr. Hale last summer, and have
closely followed his case since then, as I believe it is of the utmost importance to maintaining first
amendment freedoms.
I am a recent graduate of Barnard College and aspiring journalist. I was four when the Twin Towers fell,
and I have vague memories of watching the footage on TV. As a child, I did not understand the
justification of U.S. interventions in the Middle East, but I can remember the sense of security I felt that
direct action must be necessary because competent people in government found it to be.
As I began to educate myself about political issues in high school, I became aware of U.S. use of drone
strikes in interventions abroad. The article detailing the contents of the documents leaked by Mr. Hale
came out when I was a junior. The use of drone strikes as extrajudicial assassination tools, sometimes
targeting U.S. civilians, struck a harsh contrast with my view at the time of the U.S. military as a
principled, constitutional actor on the world stage. The America that I knew would give even terrorists a
fair trial before any kind of conviction, let alone innocent civilians.
Now, six years later, I am beginning my own career in journalism. My motivation to enter this
competitive field is the journalists before me who used the information at their disposal to hold the
powerful accountable, inform the public, and act as watchdogs for the values laid out in the Constitution.
Journalists have always played an essential role in documenting war, and bombshell reports such as My
Lai, the Pentagon Papers, and the Iran Contra now serve as guiding lessons for policymakers today.
It is my firm belief that Mr. Hale’s actions were not only justified under the circumstances but were also a
display of patriotism and dedication to the American constitution’s guarantee of innocence until proof of
guilt. Mr. Hale was well aware of the risk he would take in revealing classified information, and because
he took that risk, the American people are now more active, aware participants in our democracy. I can’t
help but find it counterproductive for the U.S. to punish the people who revealed its past mistakes instead
of moving forward with a renewed dedication to Constitutional ideals.
In my view, the difference between the United States and an authoritarian dictatorship is that the former
works to inform its civilians, while the latter works to keep them in the dark. This distinction is borne out
not in promises, but in actions. I sincerely hope that you will consider this when delivering Mr. Hale’s
sentence on July 13th, and thank you for your service to this country.
Sincerely,
Cybele Mayes-Osterman
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 68 of 96 PageID# 2574




The Honorable Liam O’Grady
United States District Judge
United States District Court for the Eastern District of Virginia


       RE: Support for Daniel Hale

Dear Judge O’Grady:

        I am writing in support of Daniel Hale who is scheduled to appear before you for
sentencing on July 13, 2021. My name is Marilyn Montenegro, I am a retired social
worker and provided social work services for people enmeshed in the criminal justice
system for over 40 years. I am well aware of prison conditions and the impact that being
in prison has on those individuals who are incarcerated.

       I am aware that Daniel Hale has been convicted of revealing information about
the drone program that the United States operates. Although arguably US citizens
should be aware of actions taken by our government, revealing some actions is illegal
and Daniel Hale now faces the consequences for following his conscience rather than
the law.

       The declared objectives of imprisonment are both to punish the person and to
prevent them from continuing to break the law. It appears that these goals have already
been met. It is my understanding that Mr. Hale has lost his job and will never again be in
a position to reveal information about US government actions. Further, he has
experienced serious financial hardship as a direct result of the court case. It is reported,
and seems quite reasonable, that he is experiencing severe emotional distress. Daniel
Hale does not pose a threat to public safety, he has taken responsibility for his actions
and apologized to those who have been harmed. I urge you to find an alternative to
imprisonment when you sentence Daniel Hale.

       Thank you for your thoughtful consideration of this request.


Sincerely,

Marilyn Montenegro, PhD, LCSW
Redondo Beach, CA
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 69 of 96 PageID# 2575


 From:        shsharealike@saber.net
 To:          Todd Richman
 Subject:     Letter of Support for Daniel Hale
 Date:        Wednesday, April 14, 2021 3:55:45 PM




 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 I am Family Physician in a rural “need” area of the US, writing to
 respectfully asking for leniency in the case of the defendant
 Daniel Hale, who pled guilty to one count of “retention and
 transmission of national defense information” in violation of the
 Espionage Act on March 31, 2021. I ask that Hale receive no
 prison time.

 Daniel Hale is not a spy, a threat to society, or a bad faith actor.
 His revelations were not a threat to national security. If they
 were, the prosecution would be able to identify the harm caused
 directly from the information Hale made public.

 I am a Conscientious Objector to participation in war and killing,
 including the use of drones which have been well documented to
 carry a horrible burden in death and harm to non-combatants.

 We have whistleblower laws to help protect society’s need to
 know the truth about what is being done in our names. Justice in
 this case involves mercy, (and it is just to acknowledge he price
 this truth teller has already paid.)

 Thank you for your kind attention,
 Sharon Paltin, M.D.
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 70 of 96 PageID# 2576


 From:                      Rosalie Paul
 To:                        Todd Richman
 Subject:                   A letter for Judge Liam O"Grady - please be sure he gets it....thank you
 Date:                      Friday, April 16, 2021 12:19:21 PM




 The Honorable Judge Liam O’Grady

 United States District Court

 United States District Judge for the Eastern District of Virginia

 April 16, 2021



 Dear Judge O’Grady,

 I am Rosalie Paul, a resident of Brunswick, Maine and a long time activist for peace and social justice.

 I’m writing in support of Daniel Hale in the hope that you will agree with my sense that
 whistleblowers are vital to the health of our culture.

 When the government carries out policies that are highly unethical or even illegal, it is the
 responsibility of the citizenry to alert the populace so that justice can be met.

 That is what Daniel Hale did, wisely and with good conscience.

 The laws we have made to punish this truth-telling responsibility are wrong and must be removed
 from the books.

 Laws designed to hide government wrong-doing from the people are certainly unacceptable.

 No wonder the people have so little trust in our leaders.

 Please offer Daniel Hale leniency and your pride in him as a responsible citizen.

 Thank you.

                         Rosalie Paul

                        

                         Brunswick Maine 04011
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 71 of 96 PageID# 2577


 From:            Allan Peterson
 To:              Todd Richman
 Subject:         Letter in Support of Daniel Hale
 Date:            Friday, April 16, 2021 4:09:28 PM




 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 Dear Judge O’Grady,

 May name is Allan Peterson. I am 80 years old. I am writing because of the courage of Daniel
 Hale to speak publicly, and at great personal risk, to the true nature of his experiences at what the
 government does in our name, without our permission, to other nations and non-combatants.

 His is a deeply personal story of moral commitment. I heard Daniel speak at a conference on
 drone warfare and was struck by his realization and remorse for the part he played in a
 dehumanized and impersonal offensive. It was clearly transformative for him.

 How would the public ever know about the actual details of such government actions without such
 first person accounts and the toll they take? Daniel is doing a great public service and I am
 grateful for his action. I am asking you for leniency in deciding his case.

 Respectfully,

 Allan Peterson

 Ashland, OR 97520
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 72 of 96 PageID# 2578


 From:              Alison Phillips
 To:                Todd Richman
 Subject:           Letter in Support of Daniel Hale
 Date:              Sunday, April 18, 2021 11:08:43 AM



 The Honourable Liam O'Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 Dear Judge Liam O'Grady,
                                              My name is Alison Phillips. I am an 80-year-old retired science
 teacher living in Scotland (UK) with a concern for issues of justice and human rights, world-
 wide, and in particular the effects of warfare on innocent people described so often as
 "Collateral Damage", a term which disguises both their humanity and the unjust horror they
 suffer. We hear of the deaths and injuries affecting our troops but seldom the devastation
 inflicted on others. It is understandable that robotic ways of reducing our casualties are
 welcomed, but important that we know drones and other modern technologies do not reduce
 the innocent casualties caused. In my view those who try to tell the truth of what damage
 weapons cause are doing a valuable service to humanity.
                                              I am writing to you about the case of Daniel Hale. He has suffered
 considerable mental and financial damage over speaking out as a whistle blower about the
 impact of drone warfare, suffering PTSD and job loss for doing what he believed to be right so
 that the public are aware of the truth. Innocent people are killed and injured. That cannot
 advance peace. The bitterness and resentment it generates will not be ended by seeking to
 hide crimes from the public but by stopping it. There is also the danger that politicians may
 more readily go to war if they do not fear the back-lash protests of the public. It is a matter of
 concern not only in America but equally elsewhere, including Britain, that the truth should not
 be hidden from the public as to the number of those killed "mistakenly" by such weapons.
                                                As you consider the sentence you must pass on Daniel Hale, I would
 simply respectfully ask you to keep in mind his courage in choosing to speak out in spite of the
 personal cost, in the genuine belief that the public need to know the truth of the high number
 of unintended victims caused by drones in order to prevent more tragic deaths. Surely that is
 not an action deserving imprisonment? We do indeed need to know.
                                                  Yours sincerely,
                                                                       Alison Phillips
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 73 of 96 PageID# 2579


 From:          carolp6798@yahoo.com
 To:            Todd Richman
 Subject:       letter to Judge O"Grady
 Date:          Saturday, May 1, 2021 12:26:00 AM




 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia


 Dear Judge O’Grady,

 Thank you for reading my letter in support of Daniel Hale. My name is Carol Pinson,
 and I live in Martinez, California. I am a mother. I initially became aware of Daniel
 when he gave a presentation to Code Pink. He was shy and self-effacing, not thinking
 anyone would be interested in his experience with unmanned aerial vehicles (UAVs)
 in the Air Force. I immediately felt a motherly love for this young man. I have since
 learned that he has PTSD, has not been able to get work, and has suffered financial
 hardship. It is quite upsetting that such a deserving young man has to undergo these
 privations for exposing the truth about drone warfare.

 Daniel Hale should not be charged with a crime for revealing war crimes committed
 using drones. He is a conscientious airman, so principled that he could not close his
 eyes to governmental abuses. He was especially troubled by the idea that drones kill
 large numbers of civilians. Killing civilians is not only morally reprehensible, but it is
 also a war crime. Daniel said he was told by superiors that anyone over 16 in a group
 that might include the targeted individual should be considered an enemy combatant.
 This did not sit well with him, and drone victims’ experiences have borne out his fears.
 Likewise, large groupings of people and car caravans are rarely the enemy, but they
 too are drone targets.

 Truth is the currency of democracy. When we allow war crimes to be committed in our
 name, it does not bode well for our standing in the world. We become less of a
 cohesive community when our cherished ideals of truth, justice, freedom, equal rights,
 and fairness are discarded during wartime. We need more people like Daniel to
 throw back the curtain of secrecy. He exemplifies American ideals by his example.

 All charges against Daniel Hale should be dropped. He is one of the few people
 willing to speak the truth. It is our government that should be held accountable.

 Sincerely,

 Carol Pinson
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 From:               Sebastiaan Poos
 To:                 Todd Richman
 Subject:            Letter in Support of Daniel Hale
 Date:               Thursday, April 15, 2021 6:07:33 AM




 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 BALEN, Belgium, 15 april 2021

 Your Honor,

 My name is Sebastiaan Poos, born in The Netherlands, currently residing in Belgium. I do not speak as a US citizen,
 but as a concerned person who’s life has been affected by ongoing military actions wherever and whenever in the
 world. I am deeply opposed to violence and especially to violence inflicted by governments.
 My own country (The Netherlands) has been guilty of many monstrosities in their former colonies, and, being part
 of its history, i feel ashamed for it. Wrongs cannot be undone, but an apology can ease some of the pain inflicted,
 certainly when that wrong has been done with intent.

 So, when Daniel Hale publicly makes his apologies to families who have suffered from US military actions by drone
 technology, i find, he does what is decent. Making a personal statement, sharing one’s views on the drone matter,
 reveiling how indiscriminate the weapon is used, can hardly be a punishable matter. At least not by what is
 commonly, morally and intrinsically right.

 I believe it is in the interest of the public, including every person in this world, that things are made clear about what
 this new way of making war is and does. For instance that several nations are using this weaponry to kill people in
 countries they are not even in war with, that this killing really is murdering, and done, too often, on insufficient data.
 That this kind of warfare is making wars last longer since it is less costly and, indeed, with less bodybags coming
 home, but really also less effective. That using drones for killing terrorists or suspects (often based merely on
 metadata from cell phone traffic) is done in a typical terrorist way: quite indiscriminatly with no regard for innocent
 bystanders.

 From what i have been reading and watching about Daniel Hale, he is a decent, kind person with high moral
 standards, willing to make his life less comforting for the benefit of the public. And less comforting it has been
 already with loss of work, financial hardship and PTSD.
 Adding a jail sentence is not proper, is not doing justice.

 I am hoping your verdict will let justice prevail.

 Thank you for your time.

 Kind regards, hartelijke groet,

 Sebastiaan Poos
 Belgium

 Sebbed from Paddie
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 75 of 96 PageID# 2581


 From:           Nancy Roberts
 To:             Todd Richman
 Subject:        Letter in Support of Daniel Hale
 Date:           Saturday, April 17, 2021 12:52:51 PM


 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 Dear Judge O’Grady,

 My name is Nancy Roberts, I am a translator by profession, and I live in Wheaton, Illinois

 I am writing to you today on behalf of Daniel Hale, who began speaking out in 2013 against
 drone warfare, an all-too-easy way of murdering people who are often innocent civilians, and
 who now faces up to a decade in prison just for telling the truth. Daniel’s case matters to me
 because I believe it is my right, and the right of every US citizen, to have access to the truth
 about what our government is doing with our tax dollars, and that it is morally wrong to
 punish someone for revealing what amounts to a state crime.

 Daniel has demonstrated great integrity and courage through his willingness to speak out
 about this heinous practice at great personal cost, and has suffered significant hardships as a
 result of his decision to do so. As a result of the case brought against him, he has experienced
 PTSD, loss of work, and financial hardship.

 In addition to demonstrating courage in the face of danger and loss, Daniel has performed an
 extremely important public service by revealing information about immoral and illegal acts
 being carried out by the US military and which, as noted earlier, are being funded by taxpayers
 like me who, heretofore, were unjustifiably being kept in the dark by our government.

 For these reasons, I appeal to you not to sentence Daniel to any prison time, but to recognize
 that his actions and words are, in fact, morally commendable and expressions of true
 patriotism and humanitarian awareness.

 Thank you for considering my views.

 Most sincerely yours,

 Nancy Roberts
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 76 of 96 PageID# 2582


 From:            Steve Roddy
 To:              Todd Richman
 Subject:         Letter in Support of Daniel Hale
 Date:            Wednesday, April 14, 2021 3:25:25 PM


 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 Dear Judge Liam O'Grady,

 I write as an educator in California who is deeply concerned about the use of drones in warfare. I
 have been
 working hard to inform my students about the many ethical and legal problems with such
 weapons,
 and in the process of educating myself and others about them, have come to admire Daniel Hale's
 courage
 in breaking the silence that prevails across the media and society as a whole on this topic.

 Daniel has suffered a great deal for his decision to come forward. I ask that you sentence him to
 zero jail time. He is a young man of great integrity who deserves to get on with his life without
 suffering the indignity and challenges of a prison sentence.

 Thank you for considering this request. I consider Daniel to be a hero, not a criminal.

 Sincerely,

 Stephen Roddy
 Professor and Chair, Modern & Classical Languages
 USF (San Francisco)

 斯定文***スティヴェン・ロディー***스티밴 로디
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 77 of 96 PageID# 2583




                                                                    Deborah Rosenstein
                                                                                   .
                                                                    South Deerfield, MA 01373



April 18, 2021


The Honorable Liam O’Grady
United States District Judge
United States District Court for the Eastern District of Virginia


Dear Judge O’Grady—

I’ve never met Daniel Hale, but his case was brought to my attention recently and I
wanted to weigh in on his behalf.

This case is important to me for many reasons, most importantly that we need to reward
heroic people in our society who disclose critical information related to human rights. I
grew up learning about folks in my own family who perished due to human rights
abuses, and, from a very young age, wanted to understand who had spoken up.

If it weren’t for Daniel’s courage, we would not know that 90% of the drones had killed
people who were not meant to be targets. And we would not be able to learn from these
mistakes so that they don’t happen again. “Espionage” is a term I reserve for putting our
own country’s safety at risk. Daniel’s disclosures did not do this. As a U.S. citizen, I feel
safe because of his efforts.

It saddens me to think about all of the hardships that Daniel has already experienced—
losing work, financial instability and PTSD.

As an adult educator, when I speak with the people I work with, I will tell them about
Daniel— and my hope is that I can pass along that Judge O’Grady in Virginia did the
right thing, and that our work to lessen the terror of war for everyone— U.S. troops, and
the people they encounter around the world— will be strengthened by the bravery of
Daniel Hale and others like him, past and present.

Thank you, sincerely,

Deborah Rosenstein
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 78 of 96 PageID# 2584


 From:          rowleyclan@earthlink.net
 To:            Todd Richman
 Subject:       Letter in support of Daniel Hale
 Date:          Tuesday, April 27, 2021 9:40:21 PM


 Dear Honorable Liam O'Grady, US District Judge, USDC for the Eastern District of
 Virginia:  

 This letter is in support of Daniel Hale who pleaded guilty to the crime of letting the
 American people know the truth about drone warfare. I am a government retiree who
 watched Daniel give some of this information about the inherent imprecision of drone
 warfare and how numerous civilians in foreign countries have been killed by US
 drones in the "National Bird" film documentary a few years ago.

 Keeping such information from the American public about the reality of drone warfare
 is not democratic nor in the public interest.

 The situation has already taken a toll on Daniel Hale, including his suffering from
 PTSD, financial hardship and loss of employment.

 We hope you can be lenient in your sentencing of Daniel considering ALL of the
 special factors in this case.

 Coleen Rowley, Apple Valley, MN   

 "Power is always dangerous.              Power attracts the worst and corrupts the best."
 --Edward Abbey
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 79 of 96 PageID# 2585


 From:        J & J Schroeder
 To:          Todd Richman
 Subject:     Letter in support of Daniel Hale
 Date:        Wednesday, April 14, 2021 5:04:17 PM



 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 Dear Judge O'Grady,

 My name is Janice Schroeder. I am a retired teacher, a mother
 and a widow living in Berkeley, CA. As a teacher I always valued
 the importance of learning, and especially of teaching the truth to
 my students.

 I am writing to you to implore you to look at Danile Hale's case
 from the perspective of who Mr. Hale is; a person of integrity,
 sensitivity, honesty and humanity who served as an intel analyst
 working with unmanned systems (drones). He has suffered
 PTSD as a result of performing his duties. He witnessed innocent
 civilians killed by drones in the attempt to kill someone who was
 identified as a threat. Over time this work seriously impacted him
 mentally and emotionally.

 With great respect, I ask you to consider the harm these
 unmanned systems have caused and continue to cause by
  those in command in the military. By dehumanizing the targets
 of the drone attacks those in command make quick decisions
 about whether it is "worth it" to kill innocent young people in order
 to kill the one person identified as a threat.

 I request that you consider the agonizing sacrifices Daniel Hale
 has made to educate Amercians by bringing the truth about
 unmanned systems to the American people. I deeply value this
 information and I am so grateful to have it.

 Please have mercy on Daniel Hale in his upcoming sentencing.
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 Thank you for your consideration of my letter.

 Sincerely,
 Janice Schroeder
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 81 of 96 PageID# 2587


 From:           Benjamin Smith
 To:             Todd Richman
 Subject:        Letter in Support of Daniel Hale
 Date:           Thursday, April 15, 2021 5:37:43 PM


 To the Honorable Liam O'Grady,

 My name is Benjamin Smith, and I'm writing to ask you to give Daniel Hale no jail time. I
 have no personal connection to Mr. Hale. I'm just a concerned citizen who believes he
 performed his patriotic duty -- and has suffered enough for it.

 Hale's disclosures revealed wrongdoing on the part of the powerful, and made it possible for
 the American public to hold them accountable. In doing so, he provided an essential service.
 He's also paid dearly for it, as his prosecution has upended his life. Meanwhile, those
 responsible for the crimes he exposed have faced no consequences.

 The very least we can do, I think, is end Daniel Hale's needless suffering. Because you're in a
 position to make this happen, I implore you once again: please do not give Daniel Hale jail
 time.

 Thank you,
 Benjamin J. Smith
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 From:        Yahoo Desk
 To:          Todd Richman
 Subject:     Letter in Support of Daniel Hale
 Date:        Sunday, April 18, 2021 2:23:05 PM




 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia
 Daniel Hale’s case is important to me as a citizen. He was brave
 enough to tell me, Deidra Smith, the truth about how my hard-
 earned taxes are spent on drone warfare. My money needs to go to
 the people who need food, healthcare, and shelter in the U.S. At
 home in Colorado, we also need these tax dollars to stop the fires
 and global heating. While I’m worrying about COVID-19 and fleeing
 from wildfires, innocent civilians are being killed by drone with my
 tax money.
 Daniel is my hero because he has tried to help people like me stand
 up to dictatorship that takes money away from me when I most need
 it and throws it away on 20-year wars that fail to solve the problem.
 Please give Daniel the sentence he has earned – our eternal
 gratitude.

 Sincerely,
 Dea Smith
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 83 of 96 PageID# 2589


 From:           William Snavely
 To:             Todd Richman
 Subject:        Letter in support of Daniel Hale
 Date:           Sunday, April 18, 2021 1:19:52 PM


 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia


 Dear Judge O’Grady,

 My name is Kirk Snavely, writing from Lawrence KS, in support of Daniel Hale. In late
 March, Daniel pled guilty to giving an investigative journalist truthful information in the
 public interest about the secretive US drone warfare program, information that revealed gross
 human rights violations. It also revealed that drones were more deadly and less accurate than
 the US government presented publicly. In fact, nearly 90% of those killed by drone strikes
 were not the intended target. For this public service to his country, Daniel faces up to 10 years
 in prison.

 Since he started speaking out against drone warfare in 2013, Daniel has experienced PTSD,
 loss of work, and financial hardship. In my opinion, he has suffered enough, and deserves
 leniency.


 Sincerely,
 Kirk Snavely
 Lawrence, KS


 Sent from Mail for Windows 10
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 84 of 96 PageID# 2590


 From:           Nik S
 To:             Todd Richman
 Subject:        “Letter in Support of Daniel Hale”.
 Date:           Sunday, April 18, 2021 12:59:46 PM


 The Honourable Liam O'Grady,
 United States District Judge,
 United States District Court for the Eastern District of Virginia
 Your Honour, I am writing to you today to ask that you do not sentence the whistle-blower
 Daniel Hale to prison. My name is Nicholas Southwell, and i am a subject of Her Majesty
 Queen Elizabeth II. I have been moved by the plight of Mr. Hale, who has shown great
 courage in telling the people of the United States the truth about the drone warfare program,
 which has lead to the deaths of many innocent civilians. As your own former president James
 Carter has put it:
 "We don't know how many hundreds of innocent civilians have been killed in these attacks … This
 would have been unthinkable in previous times."
 Why should the American people not know about what is done in their name, or using their
 tax money? Was not your country founded on the concept of standing up to authority for the
 sake of ones conscience? Ask yourself, Your Honour, what would the Founding Fathers of
 your nation have made of these practices? Or of the practice of arresting those who attempt to
 shed light on such practices to the American people?
 Mr. Hale has already suffered terribly due to PTSD, and financial hardship/loss of earnings.
 I beg of you your honour, to do all in your power to show leniency to Mr. Hale.
 Yours Sincerely
 Nicholas Southwell
 Cornwall, England.
 United Kingdom of Great Britain and Northern Ireland.
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 85 of 96 PageID# 2591


 From:           Christian Stalberg
 To:             Todd Richman
 Subject:        Letter in Support of Daniel Hale
 Date:           Sunday, May 2, 2021 11:22:41 AM


 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 Dear Judge O’Grady,

 My name is Christian Stalberg and I have been in opposition to the drone warfare program for
 a number of years, having protested at Creech Air Force Base in Nevada on multiple
 occasions. I am writing you regarding the former drone pilot Daniel Hale, a young man of
 conscience and a whistleblower.

 When I first learned about armed unmanned aerial vehicles (UAVs) that can kill people half a
 world away with no ‘boots on the ground’, I was aghast. I knew that this would change
 warfare forever and, worse than that, these devices could be used indiscriminately anywhere in
 the world, at any time. The program is controversial at best and defies rules of engagement on
 the battlefield. I’ve a background in computing and telecommunications, so I did some
 investigation into how UAVs are used, learning about remote sensing, biometrics and the like.
 I learned that drone pilots sitting in bunkers were piloting these drones and were witnessing
 the effects of the drone strikes in real time through cameras zeroing in and magnifying the
 strike zone. Later I actually met former pilots who suffer from the effects of PTSD and heard
 stories of them witnessing innocent women and children being killed, blown to pieces before
 their very eyes. In the drone kill program, any event or location is fair game. Weddings and
 funeral parties are attacked with civilians routinely sacrificed. In 2019 thirty civilians who
 were resting in a house after a days’ work harvesting pine nuts in Afghanistan were killed in a
 drone strike that mistook the house for an ISIS hideout. Children are growing up today in
 countries where drone warfare is taking place with PTSD. Potential victims cannot surrender
 to a drone. There is no sense of safety or security for the innocent living in communities that
 are visited by drones flying overhead.

 Given these horrors, how could a person of conscience not speak out? The impact of carrying
 out orders, carrying the burden of responsibility, would certainly wear a person down,
 questioning right from wrong, whether the ends justify the means, etc. Drone pilots are
 traumatized, with drug abuse, domestic violence and even suicide being the end result. Creech
 Air Force Base drone pilot Captain Kevin Larson committed suicide with a single self-
 inflicted gunshot to the head in January 2020 after learning he was going to be court martialed
 for drug and behavior problems.

 While I’ve not personally met Daniel Hale, I have witnessed him speaking on camera. This
 young man strikes me as being an upstanding person of conscience who has suffered the ill
 effects of serving as a UAV pilot for targeted assassinations. I can well imagine Daniel
 obviously grappled with his conscience and decided to act on what in his estimation was the
 right, moral and just thing to do.

 I ask you to drop all charges against Daniel and not punish a young man for turning humane
 and for his actions of attempting to cease further harm.
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 Sincerely,
 Christian Stalberg
 Kensington, California
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 87 of 96 PageID# 2593


 From:           Jim Steitz
 To:             Todd Richman
 Subject:        Letter in Support of Daniel Hale
 Date:           Thursday, April 15, 2021 2:40:48 AM


 The Honorable Liam O'Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 Dear Judge O'Grady,

 I am a US citizen residing in North Carolina, urging you to show clemency in the case of
 Daniel Hale, and sentence him to no further prison time beyond time served. Hale's actions
 were entirely noble, moral, and in the public interest, as indisputably demonstrated by
 increased public understanding of the US conduct of certain drone warfare operations.

 The information whose disclosure led to Hale's conviction under the Espionage Act was
 information to which the American public was entitled, as a condition of giving the informed
 consent of the governed that is a foundation of our democracy. The US national security
 related agencies are prone to grossly over-classifying information for reasons of political
 expediency and avoiding public embarrassment, rather than for genuine, specific security
 considerations, and Hale's case is an archetypical example of this. While Hale has suffered
 criminal prosecution for remedying this democratic deficit, the officials involved in the
 blatantly illegitimate classification of the very existence of an entire mode of warfare will face
 no consequences.

 Where a law or its application are unjust, or in this case both, a Judge should show clemency
 in recognition of that larger context. This discretion is a vital check upon the most stringent
 and vindictive application of laws that are typically written expansively and flexibly for the
 use of prosecutors. The Espionage Act in particular does not even allow for a public interest
 defense, and criminalizes the transfer of information deemed by government to be 'classified,'
 regardless of the public interest in that information, and without any showing of the legitimacy
 of that classification. In recognition of these factors, I urge you to sentence Daniel Hale to no
 more than time served.

 Sincerely,

 Jim Steitz
 Charlotte, NC
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 88 of 96 PageID# 2594


 From:               Phoebe Anne Sorgen
 To:                 Todd Richman
 Subject:            Letter in Support of Daniel Hale to The Honorable Liam O’Grady
 Date:               Monday, April 19, 2021 4:45:05 AM
 Importance:         High




 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 Honorable Liam O’Grady:

 I was born and raised in Culpeper, Virginia. My father was a Republican dentist and my mother a Democrat
 homemaker and award-winning gardener. She was the Garden Club state legislative chair and orchestrated the
 beautiful Tiger Swallowtail butterfly becoming the Virginia state insect. My parents taught me to value justice,
 fairness, freedom, courage, and truth. My father, who died in Culpeper two years ago, was fond of saying, “Honesty
 is the best policy.” He was a WW II veteran.

 Daniel Hale’s whistleblowing was quite courageous and honest to a “T”. He should be feted, rather than punished,
 for telling the truth. Americans have the right to know about drone warfare done in our name and with our taxes.
 Mr. Hale has faced extreme financial and emotional hardship. In a fair world, he would remain free.

 Please do what’s fair and just. Give him no time in jail.


 Sincerely,

 Phoebe Thomas
 chair BFUU Social Justice Committee
Case 1:19-cr-00059-LO Document 240-4 Filed 07/22/21 Page 89 of 96 PageID# 2595




                              Letter in Support of Daniel Hale

From: David Turnoy

To: The Honorable Liam O’Grady, United States District Judge
United States District Court for the Eastern District of Virginia

April 27, 2021

Dear Judge O’Grady,

I am a retired teacher with a keen interest in history and in seeing that our country puts its best
foot forward. I came of age during the Vietnam War, and since that time I have observed our
country doing things around the world that harm other people. We are supposed to be the beacon
of light and freedom, but our policies and military actions do not live up to our ideals.

One of the only ways to change misguided government action is to bring it to the attention of the
public. This is exactly what Daniel Hale did in passing on information about the US drone
program. Knowing the history of the treatment of whistleblowers in this county, it took great
courage for Daniel to follow through on his course of behavior. But thanks to his efforts, the true
nature of the drone program is now public knowledge, and the next thing we need to have
happen is for the government to end this program.

The Espionage Act under which Daniel is charged is a relic of the First World War, established
to stop protests against the entry into that war. I cannot understand how that law, which really
has no reason to exist in a country that has Constitutional freedoms of speech and of the press,
continues to remain on the books and to be used against citizens who are trying to get our
government to do the right thing. No one was harmed by Daniel’s action, and instead of being
sentenced to prison, I think he should be awarded a medal for his courage in speaking up for
what is right. This ordeal has taken a huge toll on Daniel, suffering PTSD, loss of work, and
financial hardship. Therefore, I am hoping you will assign a suspended sentence or probation.

Daniel has performed a public service, acting on the basis of what his conscience told him was
right. In a democratic system, the press is an important fourth informal branch of government.
Sentencing Daniel harshly will discourage future whistleblowers from coming forward with
important and needed information. After all, how are we to hold our government accountable
unless people know the truth?

Thank you for considering my thoughts.

Sincerely,
David Turnoy
Eastsound, WA
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 From:              Kathy Tussing
 To:                Todd Richman
 Subject:           Daniel Hale
 Date:              Friday, April 16, 2021 10:57:23 AM


 The Honorable Liam O'Grady
 United States District Judge
 United States District Court
 for the Eastern District of Virginia

 Dear Judge O'Grady:

 I am Katharine Tussing from Buffalo, New York. I am writing to you about Daniel Hale.
 Daniel Hale is a man of high moral character and integrity.
 The American people have a right to know what their country is doing. Daniel Hale should not be
 punished for revealing the truth.
  Please do not convict Daniel Hale or sentence him to prison.
 Thank you,
 Katharine Tussing
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July 7, 2021

Honorable Liam O’Grady
Senior United States District Judge
United States District Court for the Eastern District of Virginia



Dear Judge O’Grady:

I write to you in my capacity as Executive Director of Defending Rights and Dissent (DRAD) to
urge leniency for Daniel Hale. DRAD is a national civil liberties organization founded in 1960
to promote and protect First Amendment rights and the rule of law.

DRAD has been following Mr. Hale’s case from the very beginning. We sponsored a letter of
concern signed by 173 prominent individuals and 50 organizations in July, 2019. The
signatories included journalists, as well as former government officials (including those who
worked in intelligence), demonstrating a wide range of concern and that even those who
worked in military or intelligence understood the public interest of what Mr. Hale released.

Mr. Hale has pleaded guilty under the Espionage Act, an act that has been a top concern for
us as a free expression organization dedicated to preserving the First Amendment.
Journalism based on inside sources has always been an important ingredient in our
democracy, so charging those sources under the Espionage Act is very troubling. The Act
makes no distinction between true espionage and government employees who act as
journalist sources. Throughout the 100 year history of the Espionage Act, it had been
exceedingly rare to prosecute journalist’s sources under the Act. We have recently seen an
uptick in these prosecutions, and we are deeply concerned about the chilling effect this will
have on our free press.

These prosecutions offend the rule of law as they are selective. People who reveal
information favorable to the government are not prosecuted, but those who reveal
unfavorable information are. We also note, as a civil liberties organization, that many of these
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prosecutions are against whistleblowers who reveal information about core civil liberties
concerns.

The targeted killing program, which included targeting and killing civilians and U.S. citizens,
raises immense human rights and civil liberties concerns. DRAD has opposed and sought
more information about the drone program for over a decade. The program has stirred deep
public debate, as is appropriate in a democracy. But that debate was stifled due to excessive
secrecy (it could be argued that the program was being kept secret only from the American
public; inhabitants of Yemen, Afghanistan, and Somalia certainly knew about it).

The information Mr. Hale released about civilian casualties from drone strikes was essential
to the public’s understanding of the program. It was essential for citizens to hold their
government accountable. The importance of these revelations to the public discourse
cannot be overstated.

The Espionage Act fails to distinguish between those who act in bad faith such as spies for
foreign powers, and those who act to advance the American public interest. The law was
never intended to prosecute whistleblowers for bringing vital information to the American
public about activities of their own government. Mr. Hale is not a spy, he is a whistleblower
who acted in good faith to advance the public interest. He did not harm national security.

He should therefore be sentenced appropriately and receive maximum leniency possible.

Sincerely,




Sue Udry
Executive Director
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 From:                 Weaver, Parker R
 To:                   Todd Richman
 Subject:              Letter in Support of Daniel Hale
 Date:                 Sunday, April 18, 2021 1:20:17 PM


 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 Hello,

 My name is Parker Weaver and I am from Texas. The case of Daniel Hale is important to me because Daniel Hale’s
 revelations and activism highlight the errors of US drone policy. Specifically, the fact that 90% of those killed by US drone
 strikes are not the intended target demonstrate how counterintuitive this drone policy is. With such a high civilian casualty
 rate, US drone strikes lead to popular anger and resentment towards with the US which goes on to provide more legitimacy to
 the enemies of the US, namely the Taliban and al-Qaeda. It is no wonder that after almost twenty years of drone strikes in
 Afghanistan and Pakistan, alongside on-the-ground operations, these two terrorist entities have only been strengthened and
 revived.

 Daniel Hale’s revelations are not a threat to US national security. Rather, it is the very drone policy that Hale is exposing that
 is the threat to US national security. Disenchanted civilians in countries like Yemen, Pakistan, and Afghanistan have flocked
 to terrorist groups after seeing their communities and loved ones be destroyed by US drone strikes. This drone policy has only
 made recruiting easier for the likes of al-Qaeda and the Taliban.

 Your honor, I urge you to think proactively and in a long-term manner. Daniel Hale’s revelations have exposed a major flaw
 in US foreign policy and military doctrine that has only aided our enemies and damaged our country’s image worldwide. Are
 you willing to let Daniel Hale be heard, and thereby help to begin repairing the damage done by US drone policy? Or are you
 willing to send Hale to prison, ignoring the merits of his revelations and letting misguided US policies continue to bolster our
 enemies abroad?

 Think carefully about this your honor,

 Parker Weaver
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 From:          Janet Weidman
 To:            Todd Richman
 Subject:       “Letter in Support of Daniel Hale”
 Date:          Tuesday, April 20, 2021 3:40:54 PM




 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia


 My name is Janet Weidman. I live in Astoria, Oregon. This case is very important
 to me because I have read a lot about the devastating loss of life as a result of
 drones. I feel it is not just to take the lives of innocents in this way.

 In late March, Daniel Hale pleaded guilty for the crime of letting the American
 people know the truth about drone warfare. I have admired Daniel since he
 started speaking out in 2013 against drone warfare. Drone warfare is an all-too-easy
 way of murdering people who are often innocent civilians. I learned that Daniel
 faces up to a decade in prison for just telling the truth. This seems unconscionable
 to me.

 Daniel has faced many hardships due to his integrity. This case has taken a toll on
 him: he has experienced PTSD, loss of work, and financial hardship, just to name
 three major tolls. This is an honorable human who was following his conscience.

 Daniel was accused of giving an investigative journalist truthful information in the
 public interest about the secretive US drone warfare program. This truthful
 information revealed gross human rights violations. This is VERY important
 information. It revealed that drones were more deadly and less accurate than our
 government - the US government - presented publicly. In fact, nearly 90% of those
 killed by drone strikes were not the intended target. This is not going to help our
 military or our country. How can any other country trust us when we take the lives
 of innocents through drone warfare? We are not safer, and they certainly are NOT
 safer. Daniel did the right thing, in my opinion, in giving this truthful information to
 the investigative journalist. I hope you will consider his integrity when sentencing
 him for what is being labeled a crime.

 Sincerely,

 ~ Janet Weidman
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 From:                       Susan Witka
 To:                         Todd Richman
 Subject:                    Letter in Support of Daniel Hale
 Date:                       Sunday, May 16, 2021 6:12:21 PM




 The Honorable Liam O’Grady
 United States O’Grady
 District Judge
 United States

 Dear Judge Grady:
 My name is Susan Witka. I am a former high school teacher with the San Francisco Unified School District.
 Daniel Hale exemplifies what we, as educators, hope for in the ethical character of our students.
 Daniel’s courage to tell the truth to us, the American people, about his experience in drone warfare is a reflection of
 true patriotism.
 I support the integrity of this young American patriot. Please be just in the future sentencing of Daniel Hale. Thank
 you.
                                                                                                             Sincerely,
                                                                                                             Susan J Witka
                                                              
                                                                                                                                                                     
                                                                                                                                               
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 From:              Vivian
 To:                Todd Richman
 Subject:           Letter in support of Daniel Hale
 Date:              Wednesday, April 14, 2021 4:31:18 PM


 The Honorable Liam O’Grady
 United States District Judge
 United States District Court for the Eastern District of Virginia

 Dear Honorable Judge Liam O’Grady,

 I write to request leniency for Daniel Hale. My name is Mary Vivian Zelaya. I am a retired elementary
 school teacher. I live in Berkeley, California. I recently heard Daniel Hale publicly apologize to the families
 of those who lost their lives due to his actions as a member of the military. What a civil and humane thing
 to do! The courage to do such a thing is an indicator of his honesty and good character. In these difficult
 times let us all do what we can to preserve our common humanity.

 Trusting in your wise and courageous judgement,

 Mary Vivian Zelaya

 Berkeley, California
